UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



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MARY K. JONES, Individually and on Behalf :   Civil Action No. 1:10-cv-03864-AKH
of All Others Similarly Situated,
                                              CLASS ACTION
                          Plaintiff
                                              ~FINALJUDGMENTAND
       vs.                                    ORDER OF DISMISSAL WITH PREJUDICE

PFIZER INC., et al.,

                          Defendants.



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       This matter came before the Court pursuant to the Order Preliminarily Approving Settlement

and Providing for Notice ("Order") dated March 16, 2015, on the application of the parties for

approval of the settlement set forth in the Stipulation of Settlement dated as of February 8, 2015 (the

"Stipulation"). Due and adequate notice having been given to the Class as required in said Order,

and the Court having considered all papers filed and proceedings had herein and otherwise being

fully informed in the premises and good cause appearing therefore, IT IS HEREBY ORDERED,

ADJUDGED, AND DECREED that:

        1.      This Judgment incorporates by reference the definitions in the Stipulation, and all

terms used herein shall have the same meanings as set forth in the Stipulation, unless otherwise set

forth herein.

        2.      This Court has jurisdiction over the subject matter of the Litigation and over all

parties to the Litigation, including all Members of the Class.

        3.      Pursuant to Federal Rule of Civil Procedure 23, the Court hereby approves the

settlement set forth in the Stipulation and finds that:

                (a)    said Stipulation and the settlement contained therein, are, in all respects, fair,

reasonable, and adequate and in the best interest of the Class;

                (b)    there was no collusion in connection with the Stipulation;

                (c)    the Stipulation was the product of informed, arm's-length negotiations among

competent, able counsel; and

                (d)    the record is sufficiently developed and complete to have enabled the Lead

Plaintiff, Class Representative and the Defendants to have adequately evaluated and considered their

positions.




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       4.      Accordingly, the Court authorizes and directs implementation and performance of all

the terms and provisions of the Stipulation, as well as the terms and provisions hereof. Except as to

any individual claim of those Persons (identified in Exhibit 1 attached hereto) who have validly and

timely requested exclusion from the Class, the Court hereby dismisses the Litigation and all

Released Claims of the Class with prejudice. The Settling Parties are to bear their own costs, except

as and to the extent provided in the Stipulation and herein.

       5.      Upon the Effective Date, and as provided in the Stipulation, Lead Plaintiff and the

Class Representative shall, and each of the Class Members shall be deemed to have, and by

operation of this Judgment shall have, fully, finally, and forever released, relinquished, and

discharged any and all Released Claims (including Unknown Claims) against the Released Persons,

whether or not such Class Member executes and delivers the Proof of Claim and Release form or

shares in the Settlement Fund. Claims to enforce the terms of the Stipulation are not released.

       6.      Lead Plaintiff, Class Representative and all Class Members are hereby forever barred

and enjoined from prosecuting any of the Released Claims against any of the Released Persons.

       7.      Upon the Effective Date, and as provided in the Stipulation, each of the Released

Persons shall be deemed to have, and by operation of this Judgment shall have, fully, finally, and

forever released, relinquished, and discharged Lead Plaintiff and the Class Representative, each and

all of the Class Members, and Lead Plaintiffs counsel from all claims and causes of action of every

nature and description (including Unknown Claims) whether arising under federal, state, common or

foreign law, that arise out of or relate in any way to the institution, prosecution, or settlement of the

claims against Defendants, except for claims relating to the enforcement of the settlement.

        8.     The Notice of Proposed Settlement of Class Action given to the Class was the best

notice practicable under the circumstances, including the individual notice to all Members of the


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Class who could be identified through reasonable effort. Said notice provided the best notice

practicable under the circumstances of those proceedings and of the matters set forth therein,

including the proposed settlement set forth in the Stipulation, to all Persons entitled to such notice,

and said notice fully satisfied the requirements of Federal Rule of Civil Procedure 23 and the

requirements of due process.

       9.      Any Plan of Allocation submitted by Lead Counsel or any order entered regarding

any attorneys' fee and expense application shall in no way disturb or affect this Final Judgment and

shall be considered separate from this Final Judgment.

        10.    Neither the Stipulation nor the settlement contained therein, nor any act performed or

document executed pursuant to or in furtherance of the Stipulation or the settlement: (a) is or may be

deemed to be or may be used as an admission of, or evidence of, the validity of any Released Claim,

or of any wrongdoing or liability of the Defendants or their respective Related Parties, or (b) is or

may be deemed to be or may be used as an admission of, or evidence of, any fault or omission of any

of the Defendants or their respective Related Parties in any civil, criminal, or administrative

proceeding in any court, administrative agency, or other tribunal. The Defendants and/or their

respective Related Parties may file the Stipulation and/or this Judgment from this action in any other

action that may be brought against them in order to support a defense or counterclaim based on

principles of res judicata, collateral estoppel, release, good faith settlement, judgment bar or

reduction, or any theory of claim preclusion or issue preclusion or similar defense or counterclaim.

        11.    Without affecting the finality of this Judgment in any way, this Court hereby retains

continuing jurisdiction over: (a) implementation of this settlement and any award or distribution of

the Settlement Fund, including interest earned thereon; (b) disposition of the Settlement Fund;




                                                 -3-
(c) hearing and determining applications for attorneys' fees, expenses, and interest in the Litigation;

and (d) all parties herein for the purpose of construing, enforcing, and administering the Stipulation.

       12.     The Court finds that during the course of the Litigation, the Settling Parties and their

respective counsel at all times complied with the requirements of Federal Rule of Civil Procedure

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       13.     In the event that the settlement does not become effective in accordance with the

terms of the Stipulation, or the Effective Date does not occur, or in the event that the Settlement

Fund, or any portion thereof, is returned to the Defendants' insurers, then this Judgment shall be

rendered null and void to the extent provided by and in accordance with the Stipulation and shall be

vacated and, in such event, all orders entered and releases delivered in connection herewith shall be

null and void to the extent provided by and in accordance with the Stipulation.

       14.     Without further order of the Court, the Settling Parties may agree to reasonable

extensions of time to carry out any of the provisions of the Stipulation.

       15.     The Court directs immediate entry of this Judgment by the Clerk of the Court.

       IT IS SO ORDERED.



DATED:




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PF12tR-EXCL00007      KENNETH          REMLEY
PFIZER-EXCLOOOOI      JOHN             WARNER
PFIZER-£XCL00009      CAROi. L         GRIMM
PFIZER-£XCL00010      JOSEPHINE        CRONE
PFIZER-EXCLOOOU       JAMESG           MERTEL              BONNIE C MERTEL
PFIZER-EXCL00012      LILLIAN          YORMARK
PFIZER·EXCLOOOU       CAROi.A          MAL~I
PFIZER·EXCL00014      JOHNJ            BURKE
PFIZER-£XCt00015      VMANB            NEWCASTLE           JAMES B NEWCASTLE
PFIZER·EXCL00016      MERTON A         JACOBS              SUZANNE LJACOIS
PFIZER·EXCL00017      CHARLESW         HICIClY             ANNA M HICICEY
PFIZER-£XCL00011      INGEIORG         SCHUSTER
PFIZER-EXCL00019      JOHN             XEUY                Hll.OEGAHO KEU Y
PFIZER·EXCt00020      ANTHONY          EUSKAVECH           JANET N EUSKAVECH
PFIZER-£XCL00021      LEONA            EMERY
PFIZER-EXCL00022      ANDREW           Wll.UAMS
PFIZER·EXCLOOOZI      RUTHW            EREU                EUZEREREU
PFIZER-EXCL00024      SHIRLEY          CAPUTO
PFIZER-EXCL0002S      ROBERTH          BECKER              JEANEm G BECKER
PFIZER-EXCL00026      RICKY CURTIS     VANct
PFIZER-£XCL00027      WIUIAMH          HOUNSHELL           CAllOLYN W HOUNSHELL
PFIZER-£XCL00028      PENELOPE F       SUTHERLAND
PFIZER-£XCLOOO~       THOMAS           REIO
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PFIZ£R-£XCL00032      RICHARO          HOWELL
PFIZER-£XCL00033      CURTIS A         LANDRUM
PFIZER-£XCL00034      ANA              BERRY
PFIZER-£XCL00035      MAXINE           SPARKS
PFIZER-£XCl.OOOJI     MARYLYNN         SHEALY              MARY LYNN SHEALY
PFIZER-£XCL00037      CAROLEJ          MURPHY
PFIZER-£XCL00038      THOMASL          FOUENSBEE
PFIZER-EXCl.00039     CONAROW          HOAI(
PFIZER-£XCl.00040     DORISE           PICICENS
PFIZER-EXCL00041      ELEANORA         FLOWERS
PFIZER-EXCl.00042     MARYANN          ROTH
PFIZER-£XCt00043      NOREENG          BllOOOER
PFIZER·EXCl.00044     RICKYRAY         FRAN12
PFIZER·EXCL0004S      GEORGEW          LYAU                CAllOLALYAU
PFIZH..fXCL00046      HERIERTR         HER NOON
PFIZER-£XCL00047      DOROTHY A        ORMSBY
PFIZER-£XCL00048      ELEANORS         ESHLEMAN
PFIZER..[)(Q.00049    WRY GENE         LITTREL
PFIZER-£XCl.OOOSO     URSULA           SCHUSTER
PFIZER-£XCL00051      SANORAG          HERB
PFIZER-£XCl.00052     ANNMARIE         NOlllERG
PFIZER·EXCL00053      KEITHE           KAMINSKI
PFIZER-EXCl.00054     MICHAEL          KALENAJR
PFIZER-£XCl.OOOSS     HORST            ARNOLD              PAMElA ARHOl.O
PFIZER-£XCUXI056      JOHNG            MOHAY               GIUENOOLYN C MOHAY
PFIZER-£XCL00057      GLORIA A         LEWIS
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PFIZER-EXCl.0005!1    HENRYW           KUZMINSKI           ESTHER E KUZMINSKI
PFIZER-£XCL00060      PONAPUIT         KANITHANON
PFIZER-£XCL00061      S.ING-MARIE      ERICICSSON-l'ECK
PFIZER-£XCL00062      LESTAA           DANIELL
PFIZER-£XCl.00063     CHARLES          BONNIO
PFIZER-£XCL00064      SHARONR          JUMONVIUt
PFIZER-£xCl0006S      OONNIEOPAL       BRYAN
PFIZER-EXCl00066      JOSETTEM         SOIOUTEN
PFIZER-£XCl00067      LEONM            COLE
PFIZER-£XCL00068      JAMESE           GAST
PFIZER·EX0.0006!1     UMENl            SEID
PFIZER-EXCL00070      EKAY             BOUOREAU
PFIZER-EXCl.00071     ANNE             PERKINS
Pf'IZER·EXCl.00072    HOWAROD          ESTES               HELEN V ESTES
PFIZER-EXCl.00073     JOHNA            MCO.OSKlY           KAREN L MCO.OSKEY
PFIZER-£XCL00074      KIMI             MACALPINE
PFIZER-£XCL0007S      STANLEY ROE      CYNTHIAROE
PFIZER-EXCl.00076     JOHNOAVIO        HAROSTONE           VAi.ERiE MAY HAROSTONE
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PFIZER-EXO.OOOIO      RICllAROC        DAVIS
PflZER.£XCL00081     RICHARD                   WILLIAMS
PFlZER.£XCL00082     TIMOTHY J                 FRECKELTON        S4NORA l FRECKEL TON
Pf1ZER·EXCL00083     MARY                      A                 RILEY
PflZER-EXCLOOO..     IAllRY C                  JAMES
PflZER·EXCL00085     MARTHAC                   MARTIN
Pf1ZER·EXCL00086     EMILE NAN                 ALLEN
PflZER.£XCL00087     JOHN G SCHRANZ            ALICE V SCHRANZ
PflZER.£XCL00088     PAUL HAROLD               KRM12
Pf1ZER.£XCL00089     WALTER                    NILSEN
PFIZER.£XCL00090     WIWAMW                    IROUSSARO
PflZER-EXCL00091     ANNEIRENE                 IURNm
PflZER.£XCL00092     PETER                     LDMllAROO
Pf1ZER·EXCL00093     JOHNM                     MCCAMMONO         SHIRLEY P MCCAMMONO
Pf1ZER-£XCL00094     WALLACE RANDOLPH          CULLERS
PflztR.£XCL00095     JUSTIN STEPHEN            BRYANS
Pf1ZER-£XCL00096     GARY                      COFFEY            CLAUOLA COFFEY
PFIZER·EXCL00097     CHARLEY J                 OERTLE            CAROLE J OERTLE
PFIZER·EXCL00098     JACQUELYN                 LOMllAROO         IGNATIUS LOMBARDO
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Pf1ZER.£XCLOD100     PATRICIAM                 GROMIO
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PFIZER-£XCLOD102     OANELP                    GROMIO
PflZER.£XCLOD103     WALTlllF                  KREITLOW II       MYRA LYNNE KREITLOW
PFIZER.£XCLOD104     ROBERTO                   LACKI
PFIZER-£XCLOD105     MOLLY                     IEHAN
PFIZER.£XCLOD106     JOHN(                     MORRIS            DORIS M MORRIS
PFIZER.£XCLOD107     LYLE                      REKER
PflZ£R.£XCLOD108     JOHNM                     SULLY
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PflZ£R.£XCLOD112     AVIS(                     TOLLMR
PFIZE1t.£XCLOD113    JANELG                    OUNAVANL
PFIZER.£XCLOD114     BlllGrTTAV                PERSSON
PflZ£R.£XCLOD115     ANNE                      HYLLANOER
PFIZER.£XCLOD116     ANDERS                    REGESKOG
PflZER-EXCLODU 7     JEANETTE                  O'BANION
PflZER-EXCLODUI      MICHAELS                  CHMS
PflZER-EXCLODU'      JOSEPtl                   WHITNEY
PflZER.£XCLOD120     JOHN CHARLES              IECK
PflZER.£XCLOD121     THOMASE                   DVORCllAIC
PFIZER-EXCLOD122     VERENA JANE               KIMI.ER
PFIZER.£XCL00123     JERRY MACK                HARRIS
PFIZER.£XCL00124     NllTA                     PUGH
PFIZER.£XCLOD125     IAllSUNO                  ELVINGSSON
PFIZER.£XCLOD126     RICHARD                   TWOMEY            TINA TWOMEY
PflZ£1t.£XCLOD127    HANS ERIK                 EKSTROM
PFIZER.£XCL00128     HARRY                     SCHIEIERLE JR
PFIZER.£XCL0012'     TIMOTHY HUBERT Will.JAM   HORAN             SUSAN El.AINI HORAN
PflZER-EXCLODUO      EUGENE R                  DEAR_,.           MAVIS A OEARIORH
PflZ£R.£XCLODU1      ROBERT OOUGlAS            MAllSHAU.
PFIZER-EXCLODUZ      ROIERTH                   FLOWERS
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PFIZER-EXCLOOUS      JAMES A                   HAMii.TON
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PflZER.£XCL00137     ICATHLEENP                llOU.             DAVID P IOU
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PFIZER.£XCLOOU9      LINDSAY                   WHITTLE
Pf1ZER.£XCL00140     BRIAN R                   PABST
PflZER.£XCLOD141     JOYCE                     ICAHl.AU          BERNHARD IC ICAHl.AU{OECEASEDI
PFIZEll·EXCLOD142    JAMES It                  STALLARD          JOAN 8 STALLARD
PFIZER·EXCLOD143     MATTHEW A                 O'BRIEN
PFIZER·EXCL00144     MARIL                     COWNS
PFIZER.£XCL00145     UNOAJ                     BURTON
PFIZEll.£XCLOD146    JOHNH                     OUESBURY
PFIZER.£XCLOD147     TIMOTHYE                  MULLER            LINDA D MUI.LEA
PFIZER.£XCLOD148     BARBARA MANN              NELSON
PflZ£R-EXCLOD14'     PEii.ERiK                 ENGSTROM
PFIZEA-EXCL00150     PER                       TUHEOAL
PFIZER.£XCL001S1     OIRISTIN                  THOR
PFIZER.£XCL001S2     CHRISTINA                 MORTZELL
PFIZER.£XCL00153     TOOO                      NAii.iE
PflZER.£XCL00154     JOHNF                     LITZSINGER
PFIZER-EXCLODISS     JAMES                     OPLINGER
PflZER-EXCLOOIS6     JOHN)                     DOWNING
PflZER.£XCL00157     JUUEM                     IYLE
PFIZER.£XCLOD158     DAVIDA                    STEIN
PflZER-EXCLOOIS'     FRANK F                   OE PIERO
PflZER-EXCl00160     SCOTT                     WIUIAMS           SHERI WILLIAMS
PFIZER.£XCL00161     ERNEST                    KAl.ENY
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PFIZER-UCL00163     KUTH ANTHONY           HOl.M(S
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PFIZER-EXCL0016S    VERONICA A             HANF
PFIZER·EXCl.00166   LYNN SUZAN             PETERSON             IAY BARRY PETfRSON
PFIZER-£XQ00167     LYNN SUZAN             PETERSON
PFIZER-£XCL00168    IAYBARRY               P£TERSON             LYNN SUZAN P£TERSOH
PFIZER-UCl.00169    CAROl.YNJ              TERRllL
PFIZER-EXCLOOl 70   ELIZAIETHC             WARREN               C/O ROBERT A SCOTT
PFIZER-£XCL00171    HAROLOO                VANVUllEN            BfVERLY J VAN VU REN
PFIZER-£XQ00172     BETTY                  ROWELL
PFIZER-UCLOOl 73    Wll.LIAMJ              SCHANTZ
PFIZER-UQ00174      HOWAROW                VOL KART
PFIZER-£XCL0017S    HAROLOW                FRANOS
PFIZER·EXCLOOl 76   FRANXC                 MAYNARD
PFIZER-£XCl001 n    ROSEMARYB              MCOAMEL
PFIZER-£XQ00178     AUSTEN A               FENN
PFIZER-£XCL00179    PAUi.                  SAlZMAN              G£OllGIA L SALZMAN
PFIZER·EXCL00180    JAMES JOSEPH           SHAUGHNESSY
PFIZER·EXCL00111    DENISE                 MURPHY
PFIZER·EXCL00182    GlORIA CLARE           STONE
PFIZER-EXCl.00183   MARTA                  HAGE
PFIZER-EXCL00184    MARIOlllE c            VISWAT
PFIZER-EXCL00185    PATRIOAANN             MCDOWELL
PFIZER-£XCL00186    IOHNLEWIS              WILLIAMS
PFIZER-EXCl.00187   ELAINE                 ROWlEY
PFIZ£R-£XCL00181    SHllll.EYG             BRUNMEIER
PFIZER-EXCl.00189   PATRICK L              CONWAY               ELIZAIETH A CONWAY
PFIZER-EXCl.00190   SYLVIA PATRICIA        GIBBS
PFIZER-EXCL00191    LESLIE FRANK           CHASSEAUO            PAULINECOLLETTECHASSEAUO   '
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PFIZER-£XCL00195    GUNNAR                 GRUNBAUM
PFIZER-£XCl00196    SHIRLEY T              OOWUNG                                          I
PFIZER-£XCL00197    JOHAN                  STIERNER
PFIZER-£XCL00191    MATS                   FREORIKSSON
PFIZER-EXCL00199    8IRGITTA               NILSSON
PFIZER-£XCL00200    STEN                   NILSSON
PFIZER-£xCL00201    INGELAMCANOER          Tl8ERG
PFIZER-£XCL00202    LOTTA                  GllOElllANO ICUSTI   SAGA ELINA GILOEBRAND
PFIZER-£XCL00203    AlfHllO Al.IC(         AOOLFSSON
PFIZER-£XC100204    LOTTA                  GILOEIRANO '".en     MAX ANTON GllOEBRANO
PFIZER-£XCL00205    LOTTA                  GILOEBRANO ICUSTI    NINA EMILIA GILOEBRANO
PFIZER-EXC100206    SIWM·A                 TOTTIE
PFIZER-£XCL00207    ULLA BRITT             STEINER
PFIZER-£XQOOZ08     GEORG£ A               MUSTARO              MARQORET A MUSTARO
PFIZER-£XCL0020t    OENNISAUEN             OE-R
PFIZER-EXCL00210    Dell.ORES              SWART
PFIZER-£XQ002U      MARGUERIT£T            KOIRO
PFIZER-£XC100212    U1.LA MARIA ELISABET   STRAGE
PFIZER-£XQ00213     BRITT                  JONSSON              TORE JONSSON
PFIZER-£XCL00214    EDWINA                 SCHMITT
PFIZER-£XCL00215    £MMAL                  LAKE
PFIZER-EXCLOOZ16    TIMOTHYC               HENDERSON
PFIZER-EXCLOOZ17    CATHERINE L            FUNT
PFIZER-EXCl.00218   JOHNH                  KALBFLEISCH          JAYNE KALBFLEISCH
PFIZER-£XCL00219    FIGARO                 JOSEPH
PFIZER-£XCL00220    PHYWS                  LOWE
PFIZER-EXCl.00221   JOHN                   LECCE
PFIZER-EXCl.00222   HOWARD EDWIN           MALLm
PFIZER·EXCL00223    CAROLE                 RYDEN
PFIZER·EXC100224    PETER                  HOWARD               SHIRLEY EDNA HOWARD
PFIZER-EXCl.00225   SONIA                  IAGERGREN
PFIZER-EXCl.00226   EDWARD PHILIP JOSEPH   LYNCH
PFIZER-£XCL00227    BIRGITTA               EN'LESSON
PFIZER-£XCL00228    EVA                    BARTOSCH
PFIZER-£XCL00229    JAY RICHARD            ROGERS
PFIZER-£XCL00230    GAKtE                  GLAZ
PFIZER-EXCL00231    HELEN WEBER            JOHANSEN
PFIZER-EXCl.002'2   JOHNG                  MURPHY
PFIZER·EXCl.00233   AUOREVL                SMITH
PFIZER-EXCL00234    OEBRAA                 HUTSON
PFIZER-£XCL00235    BARBARAL               l'llOWE
PFIZER-£XCL00236    ANDREA                 SMAIL
PFIZER·EXCL00237    SONIA                  IAGERGREN
PFIZER·EXCL00238    ARTHURIAN              BURNS
PFIZER-EXCl.00239   OIARLESF               PAYNE                GAii. E PAYNE
PFIZER-EXCL00240    HANS ERIK               LAGERSTROM
PFIZER-£XCL00241    PAULH                   BRUE-               PENNY J BRUENING
PFIZER-EXCl.00242   JCIANNE                 WANDERER
PFIZER.£XCl00243    MICHELLE            NEDROW
PFIZER-£XCl00244    WllLIAMR            KELUR JRtDECEASEOl   DORIS S KEUER
PFIZER.(XCl0024S    MARll.YNA           LARSON
PFIZER.(XCl00246    ALBERT              KOST                 JULIANNA
PFIZER.£XCl00247    SALVATOREJ          CASEUA
PFIZER·EXCl00248    Wll.LIAMG           HENllCMAH
PFIZER.£XCL00249    JOYCE C             MORRIS
PFIZER-£XCl002SO    JCIAN               NORMAN
PFIZER·EXCl002Sl    STEVEN ROBERT       ICKES
PflZER·EXCl002S2    BO HAKAN LENNART    FREDI.UNO
PflZER.£XCl00253    ..NITTE             LAUSTSEN
PflZER-OCL00254     SHEELAGH MARGARET   FORRESTER
PflZER-OCL002SS     MICHAELA            TOMLINSON
PFIUll.£XCl00256    ONOY                MORRIS
PFIZER·EXCl00257    WllLIAM             CANTWELL
PflZ£R.£XCl002SI    WILLIAM             CANTWELL
PflZER-OCl002S9     ROlf                BEUTEL
PflZER-OCL00260     RAMON               OSTHUS
PflZER-OCl00261     THERESA             KOPF                 SEYMOUR KOPFIOECEASEOI
PflZER-£XCl00262    NANCY               Gl8SON
PFIZER.(XCL00263    LAURIE MAC TAVISH   HST
PFIZ£R-£XCl002~     BARllARAL           COLTER               HAROl.OL
PFIZER.£XCl0026S    WALTER              GIESE
PFIZER.£XCl00266    ROBERTW             BUCKNER
PflZER.£XCl00267    LEONA RUTH          SNOW
PFIZER.£XCl00268    MARINA VY           CHANG
PFIZER.£XCl00269    HELENf              GENSl.ER             WllllAM G GENSLER
PFtZER.(XCl00270    DAVID ANTHONY       FAlll.KNER
PFIZER-OCL00271     WfNOYJANE           ELLIS
PflZER.£XCl00272    RICHARD DAVID       ELLIS
PFIZER.(XCL00273    IANWllSON           RODGER               VALERIE RODGER
PflZER.£XQ00274     LIAM                CANTWELL
PFIZER.£XCl0027S    JOSEPHIHE           HUDSON WCUTOll       ESTATE OF CATHERINE PRESLEY
PflZER.£XCl00276    KMICHAEL            MACINTOSH            PATRICIA A
PFIZER·fXCl00277    HOWARDW             BROWN
PFIZER-0Cl00271     ULAE                JORDAN
PFIZER.£XCl00279    LOISS               FELDMAN
PFIZEll-OCL002IO    DORISM              WERNING
Pf1ZEll.£XCL00211   SANTOSHJ            SAX£NA
PFIZER.£XCL00212    INGEGERD            MARKLUND             OS1CAR MARKLUND
PFIZER.£xa00283     DOROTHY I           JONES
PFIZER.(XCL00214    GUHH£L              CAllUSOH
PFIZER.(XCL0028S    ANDERS              Hll.SSON
PFIZER·EXCL002M     ELISABET            FRANSSON
PFIZER.£XCL00217    ANNIKA              ICIELLSSON
PflZER.£XCl00281    LAILA               LINDGREN             CHIN SWEE KHONG
PFIZEll.£XCL00219   ELISABETH           LIN OSTROM           BJORN LINDSTROM
PFIZEll.£XCl00290   BIRGITTA            LOFSTRANO
PflZER-EXCl00291    MAUREEN             IURKE
PFIZER.£xa00292     VICTOR I            OAUAROSA             PATRICIA C DAUAROSA
PflZER.£xa00293     sconR               llAOWN
PflZER.£XCl00294    JOSEPHW             5080l.EWSKI          PATRICIA C 5080lEWSICI
PflZER.£XCl00295    ION                 DYKSTRA
PFIZER.£XCL00296    ERNOST I            WESOl.OWSKI
PFIZER.£xa00297     PATRICIA            KIRKPATRICK
PFIZEll-EXCl00298   KATHLEEN KELSEY     HASTINGS
PFIZER.£XCL00299    JOHN                HENRY
PFIZER.£XCL00300    AGNE                LUNOIERG
PflZER.£XCL00301    ANNA MARGITH        ORPPAVE              KATARINA PAVE
PFIZER.£XCl00302    HANS ERIK           LAGERSTllOM
PFIZER·EXCL00303    TAGE                SEGELBERG
PFIZER.£XCl00304    MARIANNE            SODERBERG
PflZEll.(XCl00305   GORAN               PERSSON
PflZER.(XCl003D6    RIKARD              LINOIERG
PFIZER-EXCl00307    STEFAN              HCMIORG
PFIZER.£XClOO-      RALPH               JANSSON
PFIZER.£XCl003°'    81RGITTA            STERN
PflZER-OCL00310     FREDRICK            IENGZON
PFIZER-EXCl00311    MARIANNE            WARHOl.M
PF12ER.£XCL00312    LENNART             LUNDGREN
PFIZER.£XQ.003U     ROlF                LOOF
PFIZEA-EXCL00314    YNGVE               TRUVE
PFIZER-EXCL0031S    INGRIO              TRUVE
PflZER.fXCl00316    INGA                DANIELSSON           KARL ERIK OANIE•~DECEASEDl
PFIZER.(XCL00317    JANINA              VON KOKOWSKA
PFIZER.£XCl00311    ULLA                Nll.SSON
PFIZER-EXCl00319    JENNIFER LYNN       cox                  JANITTE MARIE VANDEUEER
PFIZlR.(XCl00320    ALBA A              DEFLOWER
PFIZER·fXCL00321    CYNTHIA MARLISSA    MITCHEU
PFIZER-OCL00322     DORIS               HAUAN                DONALD HAUAN
PFIZER-0Cl00323     HARRYC              STRAUCH              STRAUCH
PFIZER.£XCL00324     ROBERTA           SHUMWAY              MARGARET SHUMWAY
PF1ZER.£XCL0032S     LOWELL            T                    BURKE
PFIZER.£XQ00326      OAVIOC            mtRIDECEASEO)        DONNA ETTER
PF1ZER.£XCL00327     HIROMI            MIYAZAKI
PFIZER.£XQ00328      VICTOll CHARLES   WEAl/fR
PF1ZER.£XCL00329     LAURIE 0          RYAN                 ESTATE Of SUZANNE POALTON
PF1ZfR.£XQ00330      PHYWSL            WllOER
PFIZfR.£XCL00331     GUNtlLA           VON KOICOWSKA
PF1Z£R.£XCL00332     PATRIOAM          WALBAM
PF1ZER.£XCLDD333     LOWELL T          BURKE
PFlZER-00.00334      TRUOYT            WOOllEY
PFIZER.£XQOD33S      SIMONJ            FAISCHUl.TZ          IRENE M FAISCHUTZ
PFIZER.£XCLOD336                       COX INVESTMENT QU8
PF1Z£11.£XCL00337    SAMU£LL           L JCASIOECEASEOI     LINOAMWHITE
PFIZER.£XCL00338     CATHERINEM        HANlEY
PFIZER.£XCL00339     LASSHOl.M         BERG
PFIZER.£XQ00340      PHll.IPPA JANE    OALMER
PFIZER.£XQ00341      JANET             50«.ILTZ
PFIZER.£XCL00342     MARIE HELEN       CARLSSON
PFIZfR.£XCL00343     MELVINL           ADAMS
PFIZER.£XQ00344      HUGO              BENGTSSON
PFIZER.£XCL0034S     PER OLA           ERllCSSON
PFIZER.£XCL00346     MATS              SICAPP
PFIZER.£XCL00347     Wlll.IAMJ         PCXJCH               vtOAKPOUCH
PFIZER.£XCl00348     HElEN LOUISE      MATTOX
PF1Z£R.£XCl00349     CHIEKOS           DIEKEN               JACK E DIEKEN
PF1Z£R.£XCl00350     OELVINR           KNIGHTlll            AMYE Wll.LCOX
PF1Z£R.£XQ003S1      Wlll.IAM J        CANTWlLL
PflZER.£XCl00352     KYLE THOMAS       GAULT
PF1Z£1t.£XCL00353    CORINHEC          WHITE
PFIZER.£XQ00354      PENELOPE ANN      SAVAGE
PflZER.£XQ00355      PAULL             SONNENBERG           OEIORAH A SONNENBERG
PflZER..EJICl00356   ALIERT            SIOOIBIOECEASEOI     MARIANN HANSI
PFIZE1t.£XCL00357    GERALOJ           FlllPIAIC            MARGUERITE L FIUPIAIC
PFIZER.£XCl0035a     A KENNETH         FINOLAY              PATRICIA A FINOLAY
PFIZER.£XCL0035t     WONKYOO           LEE
PFIZER.£XCL00360     AUC£              AICEllFELOT
PFIZER.£XCL00361     RUSSELL           WUY
PFIZER.£XCL00362     MARIA             INGEWARK
PFlztR.£XCl00363     ANN£              ING€LMAlllC
PFIZER.£XCl00364     BENGT GUNNAR      HERRSTllOM
PFIZER.£XQ0036S      MAUO              JOHANSSON
PflZER.£XCL00366     JUOfTHANN         HILLEllY
PFIZER.£XCL00367     MAllGAllET ANN    GORDON
PflZER.£XCl00368     BIRGITTA          ERIKSSON
PFIZER.£XCL0036t     lESTERO           MCCLURE
PFIZER.£XCL00310     HARRY S           AGAMAUAN
PFIZER.£XCL00371     STELLA            YANG
PFIZER.£XQ00372      PHIWPH            GEllBERT             vtROA R GERBERT
PFIZER.£XCL00373     WILLIAMW          LEWEllENZ
PFIZER.£XQ00374      MARGIE            WALEZAK              JUDO WALEZAK
PFIZER.£XCl00375     MARY              5CAGUOLA
PFIZElt.£XCl00376    -ET               HAllKINS             GLORIA £ HARKINS
PFIZER.£XQ003n       JOHNll            OALPOZZO             CHIUSTINE M DAL POZZO
PflZER.£XCl00378     SUSAN ALISON      MllLAR
PflZER.£XCl00379     JACQUELINE C      £LDRIOG£
PF1ztR.£XCL00380     MARTHA P£ARU      HENNEBERG
PFIZER.£XCL00381     JAMtS&ONDA        HAMILTON
PFIZER.£XCL00382     ARVIN             HANH£MANN
PFIZER.£XCL00383     JOHNH             STAUFFER
PFIZER.£XCL00384     DONNAJ            FICKES               IC/O MOllGAN STANLEY
PflZER.£XCl00385     WILLIAMR          SCHAFFER
PFIZER.£XCL00386     CAROLYN           MARTIN
PFIZER.£XCL00387     GERALD            STLAURENT
PFIZER.£XCL00388     STUii£            ERIKSSON
PF1ZER.£XCl00389     ElEANOllA         LOYND
PFIZER.£XCl003to     HAICAN            N£STOll
~1Z£11.£XCL00391     KENNETH           ANDERSON
PFIZER·EXCL00392     ELSIE             THE UN
PFIZER·EXCL00393     GUJ£              HAKANSON
PFIZER.£XCL00394     GOllAN            fREDIUKSSON          SUSANN£ HAGEN
PFIZER.£XCL0039S     STUii(            MARKLUND
PFIZEll.£XCL00396    ANDERS            OLASPfllS
PFIZER.£XCL00397     ANNA GRETA        OLASP£llS
PFIZER.£XCL003'8     MARGITTA          TARNELL
PFIZER.£XCL00399     SUQVICLE OLOf     WESTHOLM
PFIZER.£XC1.00400    ULLA              UNO
PFIZER.£XCU>0401     CATRWLIND         HERT
PFIZER.£XCLOCM02     RONNY
PFIZER.£XCU>0403     ALFBEllTll IVAR   ANDERSON
PFIZER.£XCLl)0404    TOllO             TARNEU
PFIZER-EXC\0040S     AICE             TENGBIAO
PflZER·EXC\00406     ANNE MARIE       tENGTSSON
PFIZER·EXC\00407     KENT             STRANDH
PFIZER-EXCl0040t     ANNA             lUNOIN
PFIZER·EXC\00409     ANNEKUNT         SKEGRIE
PFIZER-EXC\00410     ElSIE            FALK
PFIZER·EXC\00411     TNVMAR           FALK
PFIZER·EXC\00412     GORAN            ALDERIN
PFIZER·EXC\00413     EVA              KUNT
PFIZER-EXC\00414     ROl.f            TOmE
PFIZER-EXC\00415     GORAN            BURE
PFIZER-EXCl00416     JURIS            SMITMANIS              INGRIO SMITMANIS
PFIZER-EXCl00417     JAN              AVERDAl
PFIZEll-EXC\00411    ROBEllTH         TIMSON                 MAIUlYN l TIMSON
PFIZER-EXC\00419     80               fAlKESTAM
PFIZER-EXC\00420     NllS             UNOBERG                BERIT UNOBERG
PFIZER-EXC\00421     INGRIO           SUNDSTROM
PFIZER-EXCl00422     80               HEOENSKOG
PFIZER-EXCl00423     MARll.YNJ        GAROT IDEaASEOI        FCC AS CUSTODIAN
PFIZER-EXCl00424     CNAlllES         GAROT IOEaASEDI        PERSHING llC CUSACCT CLOSED
PFIZER-0Cl00425      MAllll.YN        GAROT (OEaASEO)        PERSHING llC AS CU ACCT Cl0S£0
PFIZER·EXCl00426     WllllAMO         KlEIN
PFIZER-EXC\00427     ARTHURC          SCHERRER               CYNTHIA l SCHERRER
PF1ZER-EXCl00428     PATRICIA)        ATHYINGU
PFIZER-EXCl00429     GLENN            JARREm
PF1ZER-EXCl00430     IUCHARDJ         MERSCH
PFIZ£R-0Cl00'31      lfONARDE         WAUKENTIN
PFIZER-0Cl00432      PAMElAM          STRAnON
PFIZER-EXCl00433     JOAN MARIE       FEDORA
PF1ZER-EXC\004:M     DIPl ING KLAUS   ROllTA
PFIZER-EXCl00435     80IU£ RAGNAR     CERWEN                 ERllCCEllWEN
PFIZER-EXC\00436     EUZABETH         HARMS
PFIZEll-EXC\00437    NEWEG            CAMPtlEll
PFIZEll-EXC\00438    EDWAROM          CIAUCOWSKI IDEaASEDI   JOYCE nAINE OAlKOWSKI WIOOW
PFIZER-EXC\00439     UllA             lUNOOUISTEll           C/O TIDAHOIMS SPAllBANK
PF1ZER-EXCUXl4<!0    NANCY            80RAICS
PFIZER-EXCl~l        DE80RAHJ         SMITH
PFIZER-EXC\~2        llOYD            HIURA                  NAOMI Hll.JRA
PFIZER·EX~3          JAMESW           SPEllMAN
PFIZER-EXCl-         HELEN            SHEU
PFIZIR-EXC\~5        QJFFORDl         PHIUlPS
PFIZER-EXQ.00«6      JAMES ALFRED     FUGATE
PFIZER-EXC\~7        FREDO            PITTEWU
PFIZER-EXCl~         JOHNE            0£1.AN(Y
PFIZER-EXCl~9        BRANDTR          ADAMS
PFIZER-EXC\00450     JAMESM           KlOTZ                  RUTHKlOTZ
PFIZER-EXC\00451     MARll.YNR        STEWART
PFIZER-EXC\00452     WALTER           RA8ETZ
PFIZER-EXC\00453     PAUl             M                      RENNA
PFIZER-EXCl004S.     FAYJ             IRICEK                 JOSEPH V lltlCU
PFIZER-EXC\00455     Wll.UAM          MURPHY
PFIZER-EXC\00456     WllllAM JOHN     MURPHY
PFIZH-EXC\00457      Wll.UAM          MURPHY                 WIWAM JOHN MURPHY
PFIZER-EXa004sa      KATHllYNl        HOllE
PFIZER-EXC\00459     GERAlDl          DUNCAN                 DONNA 0 DUNCAN
PflZER-EXCl-         YEHIA El         181ARY
PFIZER-EXCl~l        YEHIAEl          IBIAllY
PFIZER-EXC\~2        HAROlOW          tAllNEn                SANORA 5 tAllNEn
PFIZER-EXC\~3        DOROTHYl         SEIDERIDEaASEDI
PFIZEll-EXCloo.M     CAMERON          COSGROllE
PflZEll-0~5          CHAlllE5D        KOVAN
PflZER-EXCl-         CHARlESl         HARMS
PFIZlll·EXC\~7       DONAlD           KENNICOTT
PflZEll·EXCl-        DOROTHY£         ClAllK
PFIZER·EXC\00469     THOMASl          CUR TH
PFIZER·EXC\00470     STEPHENH         MORREll
PFIZER-EXC\00471     SCHUYl.ER I      CUlVEll
PFIZER·EXCl00472     AlBERT           GIARRUSSO              ROS£MARIE GIARRUSSO
PFIZER·EXC\00473     JACKIED          STEWART
PFIZIR-EXC\00474     JERRY KU         SIMMONS
PFIZEll-EXCl0047S    MORTONl          lt(RMAN
PFIZER-EXCl00476     DALEE            NEBE
PFIZEll-EXCl004n     DALEE            HEBE
PFIZER-EXCl00471     OAlEE            HEBE
PflZER-EXC\00479     MARllYNJ         YONKE
PFIZER-EXaooetO      MARYANNER        HARPER
PFIZER-EXCl.00481    ARNOlO           KRAfFT
PflZEll-EXCl.00482   YENNAY           PHIUIPS
PFIZIR-EXC\00483     JIMMIEN          JONES                  GLORIA I JONES
PFIZEll-EXQ.00484    ROGER DEAN       MlllER
PFIZER-EXC\004IS     GA                RllllNG
Pf1ZER..£XCL00486   GILDADTEN         BROECK
PflZER-EXCL~7       LORINE C          KLUNSCHNITZ
Pf1ZER-EXCL00488    JOHNA             MALLICK
PflZER-EXCL00489    MAOELYNN          MIEZIO
Pf1ZER-EXCL00490    MARGARETM         FOLEY-EASTER
PflZER.fXCl.00491   LEV.NOL           EASTER
Pf1ZER-EXCL00492    MICHAEL L         ALMGREN
Pf1ZER-EXCL00493    RUTHANNE          DRAPER ESTATE
PflZER-EXCl.00494   MARVIN(           GILLMING
PflZER-EXCL0049S    MARGARETJ         RUZICKA
PFIZER.(XCl.00496                     RUZICKA CHILDREN'S PARTNERSHIP   MARGARET LOVE
PFIZER-EXCL00497    MARILYNM          NEUMAN
PFIZER.£XCL00499    MARYANN           BARLOW                           FREDERICK DURL BARLOW
PFIZER·EXCL00499    JOHNT             CAMERON                          BARBARA J CAMERON
PFIZER·EXCLOOSOO    RICHAllDJ         GAGUANESE
PFIZER.£XCL00501    PATRICIA M        OE\lllN
PFIZER·EXCL00502    RICHARD           SAlMIERI                         SANORA SAl.MIERI
PFIZER-EXCL00503    LEONW             HORST                            lUONDA N HORST
PFIZER-EXCL00504    JIMMYW            ANDERSON                         LOIS C ANDERSON
PFIZER-EXCL00505    RAYMOND           llAUERIDECEASEDI                 CAROL GRIMM
PFIZER.£XCL00506    STEPH£NG          NEELY
PflltR·EXCL00507    LEE               POWERS                           MARGARET I POWERS
PflztR.£XCL00508    PETER It          KOHN
PFIZER·EXCL00509    DAHIEL TAYlOR     PIERCE
PFIZER..£XCLOOS10   RALPH             DU OLEY
PFIZER-EXCLOOSl 1   KENNETH LAVERNE   PRIEST
PFIZER-EXCLOOSU     GoelND            SINGH
PFIZER-EXCLOOSU     CAROlG            PUTNAM
PFIZER.£XCL00514    ROBERTG           FERRO
PFIZER-EXCL0051S    RU8YM             OUICE
PFIZER.£XCL00516    MARll.YN WYNNE    O'HAGAll
PFIZER.£XCL00517    llENNETHM         BRADEN
PFIZER.£XClOOS18    KRISTYl           KEllY
PFIZER.£XCL00519    DOUGl.ASL         BROWN
PFIZER.£XClOOS20    SAMUEL            FUlllNESSJlt                     JOYCE ANNE FUltlNESS
PFIZER.£XCL00521    TtRRYlANE         VINCENT
PFIZER.£XCL00522    CAROlD            MARDELL
PFIZER.£XCLOOSZJ    JUSTIN£ L         RATH8UH
PFIZER·EXCL00524    WIUIAMG           HENIKMAN
PFIZER.£XClOOSZS    RIOIAROE          WENDEL
PFIZER-EXCL00526                      ASl'I RE UMITEl)4ASl'll
PFIZER.£XCLOOS27    JAMES JOSEPH      BEWSSIMOJR
PFIZER-EXCLOOS21    MARY ELIZABETH    BEl.USSIMO
PflZElt.£XCL00529   VICTORL           BOTMMANN                         ALLYCE CAY BOTHMANN
PFIZER.£XCLOOSJO    OOUGl.ASL         SCHOlTtN                         JANICE R SCHOLTtN
PFIZER.£XCLOOSU     CLIFFORD WAYNE    MURPHEY                          SAIWt 8 MURPHEY
PFIZER-EXClOOSU     BRUCEDAVIO        MORRILL
PFIZER.£XCLOOS33    RAQUEL            FALKEN
PFIZER-tXClOOS34    JOSlPHL           NEiii                            CHRISTINE L NEiii
PFIZER-EXCL0053S    MAltllYNS         KELLER
PFIZER-EXCL00536    FIWICOISED        VANOfPUTTEIDECEASEDI
Pflztlt.£XCL00537   OWl\ESP           VANOUREK
PFIZER-tXCL00531    ELAINE            MATTINGl.Y
PFIZER.£XCL00539    BONNIECltlSI'     DAY
PFIZER-EXCl.00540   JUDITH            JENSEN                           RICHARD JENSEN
PflZER-tXCLOOS41    JOSEPHINE         PIERCE
PflZER.£XClOOS42    MARILYN           JEAN
PFIZER.£XCLOOS43    KTTYL             MIHALIK
PFIZER.£XCLOOS44    OONNAJ            BICKEL
PFIZER·EXCl00545    BEVERLYL          KIBORT
PFIZER.£XCLOOS46    DAVIDA            HATCH
PFIZER·EXCl00547    EWN               PALM                             ICARLPAlM
PFIZER-EXCLOOS48    BJORN             BOSTROM
PFIZER.£XCLOOS49    PHluP             GATtS
PFIZER-EXCLOOSSO    BARBARAA          ANDERSON                         LOWfll J ANDERSON
PFIZER-tXClOOSSl    JOSEPHR           ROSENllOOM
Pfl?Ell.£XClOOSS2   ICARENS           MINNIX
PFIZER.£XClOOSS3    WIUIAMD           MINNIX
PFIZER-tXCLOOSS4    JAMESL            FR1111NGER                       ROSE E FRITZINGER
PFIZER-tXCLOOSSS    MARITA            NYSTROM
PFIZER.£XClOOSS6    JERRYL            RINEHART                         MARY R RINEHART
PFIZER.£XCL00557    FREDERICK C       TtGELER                          FREDRICK TtGELERIDECOI
PFIZER.£XClOOSS8    JUDY              FROEDGE
PFIZER.£XClOOSSll   LAIRY             JOHNSON
PFIZER.£XCL00560    OIANEE            JONES
PFIZER.£XCL00561     IAMESR           JONES
PFIZER-tXCl00562     BARBARA JUNE     ERICKSON                         CIO HORTtNSE TEAlE ANDERSON
PFIZER.£XCLOOS63     RAYS             CLEMMER
PFIZER-tXCLOOS64     PALll            HANKS
PFIZER-tXCLOOS65     RIOIARDF         MAlTtltlR                        MARii.YN A MAlTtlt
PFIZER.£XCLOOS66     JAMES A          FLEMING
PflUR·EXCl.00567    EUGENIE             DEROSIER
PFIZER.£XClOOS68    LOISE               QVIOt
PFIZER.£XCl00569    DAVIDP              BUTLER
Pf1UR.£XCLOOS70     MILTON              GOnt.1£8
PflZER.£XCLOOS71    ARLETTE             DRILLINGS
PFIZER.£XCLOOS72    VICTORY             CHEUNG
PflZER.£XClOOS73    R08ERT              WRIGHT
PflZU.£XCl00574     WILLIAMA            SOEURT
Pf1ZER.£XCLOOS75    DONALDW             LUM
PflZER.£XQ00576     BRIGIT HAAGA        LUNDIN
PflZER.£XQ00577     SUSANC              TAVERA
PflUR.£XCl00578     ERIC NOEL           WALLER
PflZER.£XClOOS79    JOYaY               DANIEL
PFIZER.£XCl00580    MICHAELA            DRISCOLL
PFIZER.£XClOOS81    .IERRYL             COOK                             DOROTHY R COOK
PFIZER.£XCl00582    ST£PHENR            FllANTZEN                        KAREN C FRANTZEN
PFIZER.£XCl00583    IAMESS              RICICUN
PFIZER.£XCl00584    BERTA               J\JEOEMANNJR                     JANE MJ\JEOEMANN
PflZER.£XClOOS85    FREDERICK R         MALUCICIR
PFIZER.£XCl00586    .IUDITH             FORD
PflUR.£XCl00587     FRAICUN DELANO      PRITCHETT                                               REQUEST TO RESCIND EXCLUSION RECEIVED
PflZER·UClOOS&a     llOllER1 C          CAMERON
PflZER.£XClOOS89    .IEANM              MALl.l(J(
PflZER.£XClOOS90    FREDERICK R         MAUICK
PflZER.£XClOOS91                        MALLICK INVESTMENT PARTNERSHIP
PFIZER.£XClOOS92    DAVID               ZOLLER
PflZER.£XClOOS93    IANISR              PATRICK
PflZER.£XClOOSM     JAMES R & MAllY M   llELLOR FOUNDATION
PFIZER.£XQOOS95     DROGEll             5PHAll                           l£ANfm E 5PHAll
PFIZER.£XQOOS96     UUA                 l.AllSllY
PFIZER.£XQOOS97     PATRICIAM           CHOI.EWA                         JOHN CHOUWAIOEaASEDI
PFIZER.£XQOOS91     ANNM                CAPASSO
PFIZ£R.£XClOOS99    Mll.TONC            TROllAS                          JANET C TROllAS
PFIZER.£Xa.ooeoc>   CHARLES             PRESLEY
PflZER.£XCl00601    MEUSSAK             GREGORY
PFIZER.£XCLCl0602   JOHNB               POWIRS
PFIZER.£XCl00603    ALICE               SEARCY TRUST
PFIZER.£XCl00604    UUJAN               LABEAU
PflZER.£XCl00605                        THE WEST ENDOWMENT
PflZER.£XCl00606    LEONARDW            BIEDERMANN
PflZEll.£XCl00607   EDWARDG             LAWllENCl
PflZER.£XCl00608    JOSEPH MICHAEL      GOTTltE
PFIZ£R.£XCl00609    CllfFOROA           RODE TRUSTEE                     SCOTT RODE TRUSTEE
PFIZER.£XCl00610    PAUll               BANICS
PFIZER-EXQ00611     ERNEST WILUAM       HAUSER
PFIZER.£XCl.00612   CATHY A             WHITE
PFIZfR-EXCl.00613   HELEN               STARK                            EDWARD R STARK
PFIZER.£XCl00614    MAllGERYK           EOGREN
PFIZEll.£XQ00615    SYlll.BEARD         lYUR
PFIZER.£XQ0061&     GL(NP               LENTZ                            HELEN E LENTZ POA
PflZER.£XCl00617    LESTERJ             THARP                            KAYGTHARP
PflZER.£XCl00611    R08UT               DERR                             MARIANNE I DERR
PflZER.£XCl00619    ROllERTG            ILAIR
PFIZER.£XCl00620    JOEH                MCCRACltEN                       SHEllA MCCUUOUGH
PFIZER-EXCl.00621   MAJ.IRITT           ICAl.lQUISTOBO
PflZER-EXCl00622                        PER KAlllVIST
PflZER.£XCl00623    SHEILA              MCCUUOUGH
PFIZER.£XQ00624     RONAlOl             ENGlSTROM
PflZER.£XCl00625    CIJFfORO E          CAMERON Ill
PFIZER.£XCl00626    ROYC                GRANBERG
PFIZER.£XQ00627     SHIRLEY J           COBURN
PFIZER.£XCl00628    MALCOl.MA           MOOllE
PFIZER.£XCl00629    TOM                 HANSON
PFIZER·EXQ00630     EllZABfTHA          WEAMEll
PFIZER.£XCl006U     FRANaSP             ERIKSEN
PFIZER.£XCl00632                        MACMILLAN TRUST
PFIZER.£XCl00633    PHILJPC             SHAFffRIDEaASEDI                 TEREHC£ GEN( SHAFFER
PflZER·EXCl00634    EDNA                KRAUSEIOEaASEOl
PflZER.£XCl00635    RITA                BlUMENFlllO
PFIZER.£XQ00636     BRENDAi             CRESWELL
PflZER.£XCl00637    SUSAN KAY           MERRIN
PFIZER.£XCl00638    CAROl.G             FERRARA
PFIZER.£XCl00639    JACKA               LA OOllE
PFIZER-EXCl00640    HAEYONG             KIM
PFIZEll.£XCL00641   CHINGMU             WEN                              MEI J\JEN WEN
PflZER.£XCl00642    HEIOI               BRESLAUER
PFIZER-EXCl.0064!   COLIN ST£PHEN       ODE
PFIZER.£XCl.00644   11.EANEW            ACXLEY                           R08ERT D ACXlEY
PflZER.£XCl00645    THOMASl             THACXERIOEaASEDl
PFIZER.£XCl.00646   GARY                WElSH                            BARBARA WELSH
PFIZEll-OCl.00647   OAVIOW              HARRIS
PFIZER-EXCl.ll0648   STEVER            WllSON          LINOA F Wll.SON
PFIZER-EXCUI0649     IAURELEEM         SCOlT           JAMES AllAN BROWN MAR OED TR
PFIZER·EXCl006SO     CHERYL            OSBORNE
PFIZER·EXCl00651     TOMAS             RIBEN
PFIZER·EXCl006S2     ANDREAS           BENGTSSON       PER OLOW BENGTSSON
PFIZER·EXCl006S3     MA18Rl1T          8ENGTSSON       JONATAN BENGTSSON
PFIZER-fXCL00654     CARITA            FAlEGARD
PFIZER·EXCL006SS     OLOF              BENGTSSON
PFIZER·EXCl006S6     GUNNEL            UUGREN
PFIZER-EXCl006S7     PERCILOF          HOLTE
PFIZER-EXCl006S8     CARSTEN           ROSENOAl
PFIZER·EXCl00659     TlfOMASJ          HUGHES
PFIZER-EXCL00660     BARBARA A         ELY
PFIZER·EXCL00661     EARL8RUCE         SCHIBLER
PFIZER·EXCl00662     LESLIE F          MCELVY
PFIZER-EXCL00663     IARRY             QUtNt.AN
PFIZER-EXCL00664     JAMESF            JACKSON
PFIZER·EXCL00665     BRYAN HENOERSON   JETER
PFIZElt·EXCL00666    COHNIEL           HUSUG
PFIZER·EXCl00667     KATHYF            IANE
PFIZER·EXCL00668     KARIN             JONASSON
PFIZER-EXCL00669     PATRICIAC         WAUttR
PFIZER-EXCL0067D     EDWARDT           GRIFFIN         OOLORES M GRIFFIN
PFIZER-EXCL00671     J(ANEmF           MASSUCCO
PFIZER-EXCL00672     HENRY             8ERGEHEO
PFIZER-fXCL00673     PATRICIA JOYCE    BEDNAR
PFIZER-EXCL0067•     ROSEMARYE         MCKINZIE
PFIZER-EXCL0067S     JOHND             O"OONHELL       MILOR(O L O'DONNELL
PFIZER-EXCL00676     MARGARETE         WEST COT
PFIZER-EXCL00677     CHRISTINE 8       BENNETT
PFIZER-EXCl.006711   INUJENKINS        HALL
PFIZER·EXCL00679     DARRELL           CYRIDECEASEDI   C/0 OWAIN LOllENOAHI.
PFIZER·EXCl.OOAD     RICHARO           FEIS
PFIZEJl-EXQ00611     REBECCA II        PlllTCHAllO
PFIZER-EXCL00612     LOISE             FRIS8Y
PFIZER-EXQ00683      JAMES A           PEllRmA
PFIZER-EXCL~         EVA               FJEUCEGARO
PFIZER-EXCL0061S     MARIA             EOBERG
PFIZER-EXQ00616      LENNART           LUNDSTROM
PFlZER-fXCL00617     KATARIHA          80HCILM
PFIZER-EXQ00618      JANE              ANOERSCIN
PFIZER-EXQ00619      NORENE            AVAll.IAN
PFIZER-EXQ0069D      GUY               BENGTSSON
PFIZER-EXCl.00691    MARGARETA         CASSEL
PFIZER-EXQ00692      TOii              A8llAHAMSON
PFIZER-fXCl.00693    CHRISTEL          SUN08ERG        GUNIUA WESTMAN
PFIZER-EXCL00694     JENNY             UNOVALL
PFIZElt-EXCL0069S    CHRISTINA         MARIN
PFIZEll-EXQ00691i    ANOEllS           LOFGREN         CHRISTINA LOFGREN
PFIZER-EXCL00697     NllS              KNUTSSON
PFIZER-EXCL00698     SARA              IARSSEN
PFIZER·EXCl.00699    JEllRYO           FROWNFELTEii
PFIZER-EXCL00700     LENA              SKOOG
PFIZER-EXCLDD7Dl     IOAGUNHllO        MOLLER
PFIZER-VCQ00702      EGll ARNFINN      MAGNUSSEN
PFIZER-EXCLDD7DJ     MAUO              EKBERG
PFIZER-VCCLDD™       GUNNI             HAICANSSCIN
PFIZER-VCQ0070S      HANS              LUNO
PFIZER·EXQ00706      ANNIKA            ANOERSCIN
PFIZER-EXQ00707      Gl£NN             ANOERSCIN
PFIZER-EXCLDD708     STEFAN            IANOOFF
PFIZER-EXQ00709      NIKI.AS           WARREN
PFIZER-VCCUI0710     SIMON             WARREN
PFIZER-VCQ007ll      BO                PETERSSON
PFIZER-VCCl007l2     ANNA KA TARI NA   KARISSON
PFIZER·EXQ007U       HO SUK            LING
PFIZER-EXQ007l•      ANNE HELEN        OERKERT
PFIZER·EXQ00715      KERSTIN           GUSTAFSSON
PFIZER·EXCL007l6     GUNNAR            XAlllSSOH
PFIZER-EXCl00717     JAMESPHIUP        THOMASON
PFIZER-EXQ00711      QYOE              SAYl£R
PFIZER-EXCl007l9     OCINALO           HCILT28ERGE
PFIZER-EXQ00720      DEEMS             JENSEN          GEORGETTIA JENSEN
PFIZER-EXCL0072l     WIUIAME           SCHOEN          ELISABETH SSCHOEN
PFIZER-EXCl00722     NANCYP            SCHAFFER        WILLIAM A SCHAFFER
PFIZER-EXCl0072J     EDWINR            SMITH
PFIZER-EXCL0072•     GISEIA            HARBS           CHAltlOm HARBS
PFIZER-EXQ0072S      JOSEPHD           RUSSO
PFIZER-EXQ00726      llOllMAHE         MOORE
PFIZER-EXQ00727      ALFRED            HELO
PFIZER-EXQ00721      JOHNG             Gill
PFIZER-EXCUMln9    ROBERTA             MOffATIOEC£AS£Dl                  THOMAS B MOffAT
PFIZER·EXCl00730   RANOAlR             TAVl.OR
PFIZER.£XCl00731   B£RTAAMH            FUCICIDECEASEOI                   PfTER C FLICK
PFIZER·EXCl00732   GOROONK             MIODlETON JR
PFIZER.£XCl00733   RAlPHO              HIRSCH                            MARI£ A HIRSCH
PFIZER.£XCl00734                       BRANO NU t.ABORATORIES PSI' INC
PFIZER·EXCl0073S   BARBARAf            THOMPSON
PFIZER-EXCl0073'   WllllAMM            Ol'SAHl
PFIZER.£XCl00737   SHARON              RETOFY
PFIZER.£XCl00738   ANNA EDBERG         ANTONSSOH
PFIZER.£XCl00739   ClAES               BOREU
PFIZER·EXCl00740   RUN(                MEl.AHDER




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PFIZER·EXCl00741   PERCY               BENNWIK
PFIZER-EXCl00742   lENA                BERGMAN
PflZER·EXCl00743                       K\Jh
PflZER-EXCl00744   AlBERT              LUNDBERG
PFIZER·EXCl0074S   HANNA               PALMQVIST
PFIZER-EXCl00746   ROLF                Ol'P£NHEIMER
PFIZER.£XCl00747   ELISABET            JAllVBACIC                        HANS IAllVBACIC
PFIZER.£XCl00748   EVA                 EOWINSON
PFIZER-EXCl00749   CCJHHt              BRYFORS                           EUSA8ETH BRYfORS
PflZER·EXCl00750   PATRICIA BASS       WEBER
PFIZER-EXCl007St   MORGANO             COMINS
PFIZER·EXCl007S2   LOUIS               lU8RAllO
PflZER-EXCl007S3   MICHAELJR           LAWSON
HIZER.£XCl00754    AlBERTAA            BECKER
HIZER.£XCl007SS    ICENNETHP           STROHl                            MARIAN E STROHl
HIZER.£XCl007S6    RUSSELlJ            BOEHM
HIZER.£XCl007S7    GEORG(T             SAIRS
HIZER.£XCl007Sa    RICHAllDA           CORNI
HIZER.£XCl007S9    ANNMARIE            GRADY
HIZER.£XCl00760    JANETA              111.00EAU
HIZER.£XCl0076t    HELEN               HUTCHINSON
PFIZER.£XCl00762   GLEN                SLANfC
PFIZER.£XCl00763   CHARLESS            DOHM
HIZER.£XCl00764    RONALOL             llNFORD                           DEBRAICBINl'ORO
PFIZER.£XCl00765   DELORES A           STREIT
PflZER.£XCl00766   HELENO              GELARDltDECEASEDI                 JOYCE V FEREIRA
PFIZER.£XCl00767   NIJELLYH            llAlLARD
PflZER.£XCl007&1   FANM                GATES
PFIZER.£XCL007'9   JOHN)               CHlLL                             SALLY I CHELL
PflZER.£XCl00770   STELLA T            MAlCIKIDECEASEOI                  BERNARD JULIUS MAXllC
PflZER-EXClOOnt    MARYANN I           MCCULLOH                          THAN£ H MCCULLOH
PFIZER.£XClOOn2    IAMESL              FfEKINfDECEASEOI                  BONNIE I FEEICll
PFIZER.£XClOOn3    MICHAEL             ICARACSONY
PFIZER.£XClOOn4    MARK                MIETELSICI
PflZER.£XCl00775   CATHERllEI          AUGUST
PflZER.£XCL00776   IRVllDEAN           HODEL                             SHARON LOUISE HODEL
PFIZEll-EXClOOm    TllEOOOREE          TINGLEY
PFIZER.£XCl00778   JOHNA               SPICtR                            l.INOA A SPICER
PflZER.£XCl00779   IEANH               SEAMAN
PFIZER.£XCL00780   PATRICIC GREGORY    WIUUNS
PFIZER·EXCl00781   GUNILLA             KLEBERG                           INGEMAR 81.0MGREN
PFIZER·EXCl00782   HARLAN              OW£Nf0ECEAS£Dl                    PAUl.WOWEN
PflZER.£XCl00783   MICHAfll            XING
PflZER.£XCL00784   DONALOR             WELSH
PFIZER-EX0.0078$   MICHAEll            OABKOWSKI
PFIZER.£XCL00786   BARBARA             WRATCHFORD
PFIZER.£XCl00787   PATRICICI           FOXVOGIDECEASEOI
PFIZER.£XCL00788   BRUCEM              PllOSKE SR
PFIZER.£XCL00789   JANET               W0008URN
PFIZER.£XCL00790   VALAIRE I           MAYER
PflZER.£XCL0079t   HELEN               HUNTER
PFIZER.£XCl00792   J£RRYG              HUNTER
PFIZER.£XCL00793   HELENV              HUNTER                            JERRY HUNTER
PflZ£R.£XCl00794   ELAINE              MATTINGLY
PFIZER.£XCl0079S   DORISS              CATENACO
PFIZER.£XCl00796   DORISJ              ASHER
PFIZER-EXCl00797   MARl(A              AllSOGlU                          NUMIN ALISOGlU
PFIZER.£XCl00798   JAMES JOSEPH        COFF
PFIZER·EXCl00799   GERAlOI             CHAMPAGNE
PflZER.£XCl00800   SALVATORE           GIAltOIHA
PflZER.£XCl0080t   CUFFOROA            RODE                              SCOTTROOE
PFIZER.£XCl00802   JOAN BUI.KLEY       DESELDING
PFIZER.£XCl00803   JAMES A             BOOE
PFIZER.£XCL00804   MICHAELC            ROTH
PFIZER.£XCl0080S   RUTHL               ADAMS
PFIZER.£XCl00806   WAYNE               BllEW
PFIZER.£XCl00807   GARYD               WILLIS
PFIZER-EXO.OOIOI   ASA                 SAMUElSSON
PflZER.£XCL00909   INGRIO ltRGSTRAND   FORSl.UNO
PFIZER·EXCL008!0     LIESE LOnE             IOHANSSON
PFIZEll-EXCl00811    HAR RYE                ROGERS
PFIZER·EXCl00812     HAR RYE                ROGERS
PFIZER·EXCl00813     FAYELSOM               ROGERS
PFIZER-IXCl00814     FAYELSOM               ROGERS
PFIZER-lllCL0081S    EVA                    NILSSOtl
PFIZER-ll!CL00816    ALF                    Nll.$SOH
PFIZER·EXCL00817     ROGER                  BENGTSSON
PFIZER·EXCl00818     ANNHCA                 HAAnEu
PFIZER·EXCL00819     HAHSOl.OF              IOHANSSON
PFIZER·El!Cl00820    EMii.                  LAASSON
PFIZER·EXCl00821     S1V MAlllANNE          POMMERENING
PFIZER.£)(Cl00822    THOMAS                 CERVIN
PFIZER·E>CCl00823    INGRIO I.AASBY         ARVERED
PFIZER·EXCL00824     Ul.FMAGMIS             Nll.SSON
PFIZER·EXCl0082S     AGNETA                 OOMAltX
PFIZER·E>CCl00826    HAlCAN                 IOHNSSON                   HAKAN
PFIZER-OCL00827      MAllYT                 OUNlEAVY
PFIZER·EXCL00828     .JORGEN                ARNEFALK
PFIZER-OCl.00829     CAROl.R                GILUlAND
PFIZER-0Cl00830      IOHNC                  TWORZYOl.0
PFIZER-00.00Ul       ENOR                   toeERG
PFIZER.£)(Cl00832    GRAHAME                BEAllDIOECEASEDI           REBECCA BEARD BllUNER
PFIZER·EXCl.00833    XLASHENRIH             IOHMtSSON
PflZER·ElCCl00834    RANDY LOUIS            LOREN
PflZER-OCl.00815     FRANCESH               PARKER
PFIZER-OCl.00816     PAULX                  IENSEN
PflZER-OCl008l7      MARKE                  SHUTON                     IANICE LS
PFIZER-00.00US       IOHND                  SMITH                      MARGUERITE G SMITH
PFIZER-ll!Cl008l9    MARYANNE               HAMll.T:>N10EC£ASEDI       BEVERLY SELLER
PFIZER-OQ.00840      MAAGARETW              IOWACIC
l'flZER.£)(Cl00841   DAWN                   WHITSON
l'flZER-00.00842     IAMESL                 ROUTSON                    IANET ROUTSON
PFIZEll-ll!a.00843   MILMANH                UNNll
PFIZER-OCl.00844     MILDllEDS              un
l'flZEIHXCL0084S     IOHNH                  LEHMANIR                   SHARON J LEHMAN
l'flZER-Oa.oc..6     DAVID MICHAEL          GAUTHIER
PFIZER-00.00847      IESSICAM               GAHR                       HOl.LY IEAN ANGl.£Y
PFIZER-00.00848      PAT                    IUllTOllOEaASEDI           WOMEN INTO INVtSTMENT
PFIZER-00.00849      JUl.IANNA              KOST
PFIZER-0Cl008SO      IOHNW                  WINTER                     DARLENE WINTER
PflZER-OCl008S1      EOWINL                 HEAD                       BARBARA .JEAN HEAO
PFIZER-IX0.00852     WERNER                 REG£wnn0£CEASEDI           XATHARINEAREGEWln
PFIZER.£)(0.00853    1.&MFSWESLEY           OOEU
PFIZER·EX0.00854     QfARLESA               811En
PFIZIR-00.00ISS      POAVIO                 OWORSICY
PFIZER.£)(Cl008S6    GARY LEE               HALCOMB
PFIZER-00.00857      SUSANK                 Ol.SEN                     EDWARD W Ol.SEN
PflZER-EXQ.l)OIS8    NICHOl.ASG             GAMSE
PflZER-OCl00859      HERNAMR                VINOXUll
PFIZER.£)(0.00860    JANETC                 Al.ElWIOER
PFIZER-0Cl00861      DONALD STEvt           WAUNCH
PFIZ£R.£>1Cl00862    RONAU>                 BARBARO                    EUEN BARBARO
PFIZ£R.£XCLOCll63    LARS ANOERS LEOPOl.O   8ENGTSSON                  CARL ANDERS IENGTSSON
PFIZER-0Cl00864      SANORAL                MCGOV£RN
PFIZER-0Cl0086S      LOREN                  MENNENGA
PFIZER-0Cl00866      IOHNG                  FOWLER
PFIZER-0Cl00867      .IERRYOON              PERRY
PFIZER-0Cl00868      MARSHALL£              PRUNlY JRIDEaASEDI         MARY F SHERIOilllTTEE & WIFEI
PFIZER.£XCl00869     ....... L              COVIELLO                   ANTOINETTE COlllEUO
PFIZER-0Cl00870      MARY                   HEISSER MAN
PFIZ£R-IXCl00871     ANTHONY I              ROmNGER
PFIZER-EXCl008n      HERMANW                HAMMER                     LINDA M HAMMER
PFIZER.()(CU)(ll73   MORRIS£                HAIRE
PFIZER-IXCl00874     RONALOC                HEADLEY
PFIZER-0Cl00875      IOSEPHI                GLORIOSO EX                EST ANGELO V GLORIOSO
PFIZEIHX0.00876      R08ERTW                OBlllNSXY
PFIZER-00.008n       SANOllAX               PEHRSON                    GREGORY J PEHRSON
PFIZEll-ll!a.00878   OORISW                 JORGENSON
PFIZER-00.00879      L                      FERGUSON&                  SANORA X I.AASEN CO TRUSTEES
PFIZER-Oct-                                 LOMA ALTA CORPORATION
PFIZ£R.£>1Cl00881    1.AARYF                FERGUSON IRA
PFIZER.£XCL00882     lARRY F                FERGUSON IU TTEE           DANIEi. NEIL FERGUSON TRUST
PFIZER.£](~)         INIRYF                 FERGUSON nu                FARRY F FERGUSON JV TRUST
PFIZER.£XQ00984      PATRIOAG               MCAUESTRER
PFIZER~              ESTATE OF MAUllO       OISTASI                    FRANCES OISTASI
PFIZER-EllCl00886    VIVIANNER              HUDSON
PFIZER-OCL00887      SUE CROW£              WALTERS
PFIZEll-0Cl00888     GEOFFREYW              FRENCH
PFIZEll-0~           ROYI                   HOWNGSWORTH IRfOECEASEDI   CAROL L RUPPRECHT TRUSTEE
PFIZER-OCUXJll90     R08ERTG                MILLER                     PEGGY A MILLER
Pf1ZER-£XCL00891    PMllllPJ        GARONER
PFIZER-EXCL00892    JOHNE           SHARP                          JUOYH SHARP
PFIZER-EXCL00893    IL£NE B         SZTOAC
PFIZER-EXCU>0894    JOSEPH I        SEMI NARO
PFIZER-EXCL00895    ING(R           ANDERSON
PFIZER·EXCL00896    FREOERICJC W    KELOt
PFIZER-EXCL00897    PATRICIAO       VICKERS
PFIZER-EXCL00898    JUDITH!         ARTWICK TRUSTEE                IOAN B KAMPS TRUST
PFIZER·EXCL00899    OONAlDR         BAXTER
PFIZER-EXCL00900    SHEILAR         KELCH
PFIZER-EXCL00901    ERNESTG         HILL
PFIZER-EXCL00902    MARRANL         BOUR ER
PFIZER-£XCL00903    MARYJO          OGDEN
PFIZER-EXCL00904    SIDNEY          OORFMANIOECEASEOI              STANLEY DORFMAN
PFIZER-EXCL00905    GENET           LEE                            SHIRLEY TlEE
PFIZER-£XCL00906    JAMESE          RICE
PFIZER-£XCL00907    ALFREDH         WHITTAKER                      JAMES£ WHITTAKER
PFIZER-EXCL00908    MICHAELL        JONG                           MARYMXING
PFIZER-EXCL00909    STEPHEN         ROTH
PFIZER-£XCLOD!l10                   THE FLEMING FAMll.Y TRUST VA   OONAlD C FLEMING
PFIZER-£XCL009l 1   JACKIE P        ANDERSON
PFIZER-£X0.00912    ROSELYN         KAPP
PFIZER·EXCL009U     HEL£NL          SITTERMANN                     ROLAND F SITTERMANN TR
PFIZER-£XCL0091•    OOROTHYL        8UNTEN
PFIZER-£XCL00915    JAMESR          BUNTEN
PFIZER-£XCL00916    CAROL GAY       HALL
PFIZER-00.00917     JEROME ALLEN    ANDERSON
PFIZER-£XCL00918    LEONAROG        KNUT~DECEASEDI                 EUNICE E KNUTSON
PFIZER-£XCL00919    WILLIAMW        HINMAN                         FRANCESG HINMAN
PFIZER-£XCL00920    GEORGER         ANDERSON
PFIZER-EXCL00921    CINOYL          GEROULD
PFIZER-£XCL00922    GLORIAP         GEROULD
PFIZER-£XCL00923    CORDELIA JANE   1umtOECEASEOI                  MARGAll£T FRYE HUGHES
PFIZER-£XCL0092•    THERESAR        GLASS
PFIZEll·EXCL0092S   AJOY            STARY
PFIZER-EXCL00926    LLOYDE          GllANT                         MARYN€TTA GRANT
PFIZER-EXCL00927    RENE            SLIOA
PFIZER-£XCLOD!l28   DAVIDE          LARSEN
PFIZER•EXCL00929    JEUREL          RfYNOLDS
PFIZER-£XCL00930    OIARLESW        WIUlAMS
PFIZER-£XCL00931    WIUIAM          MARIIDECEASEDI                 TIRESAEMARX
PFIZER-EXCL00932    KAREN           PETERSON
PFIZER-£XCL009J3    SAAOK           DOSS                           HELfNEOOSS
PFIZER-£XCL009M     ROIERTC         <I &rvl0£C£ASEDI               WINIFRED M SlAOE
PFIZER-£XCL009J5    RDNAU>R         GRAUN                          JANET M GRAUN
PFIZER-EXCL00936    JOSEPHL         BRYAN
PFIZER-£XCLOD!IJ7   JUNER           COPEIDECEASEOI                 LLOYD EUGENE COPE EXECUTOR
PFIZER-£XCL00931    BENJAMINC       COPEIDECEASEDI                 JUNE R COl'EIDECEASEOI
PFIZER-EXCL00939    IARBARAJ        LEEDS
PFIZER-EXCLOO!MO    WIWAM           sn?IRJR                        CYNTHIASEmR
PFIZER-£XCL~1       EDWIN           0£NTnN10£CEASEOI               BETTY GAii. DAUSMAN
PFIZER-£XCL~2       IUCIWIOS        BRICK
PFIZER-EXCL~3       OIARLOTTE       EUENIUS
PFIZER-EXCL00944    MARION          MAHI.MEISTER
PFIZER-£XCL~S       8111GITTA       SIOO
PFIZER-£XCLOO!M6    JUUEST JOHN     SMITH
PFIZER-£XCL~7       NILS JOHAN      NOAENLIND
PFIZER-£XCL~        EVA MARIE       MATTSSON
PFIZER-EXCL~9       HANS            ELON&NlOfCEASEOI               KRISUNA ELONAN
PFIZER·EX0.00950    SIV             LAND                           ROLF LANO
PFIZER-£XCL00951    ALLAN           TUVESSON
PFIZER·EXCL00952    KENNETHJ        HANNAH
PFIZER-£XQ.009S3    NANCYL          KllAUSE
PFIZER-00.00954     SJANE           WILTSHIRE
PFIZER-EXCL009SS    ROBiRT J        FRANICENIERG
PFIZER-£XCL009S6    GEORGE          ROWEIDECEASEOI                 JOAN ROWE
PFIZER-£XCL00957    ANNE            CABANISS
PFIZER-£XCLOD!IS8   ANNEMUOO        CA8ANISS
PFIZER-EXCL00959    ROIERT J        BULMER TRUST AGREEMENT
PFl2ER-OCL00960     NORMAi          O'CONNOR
PFIZER-EXQ.00961    FRANCES JOYCE   DOMINICK
PFIZER-£XCL00962    ANDRfWL         MCMILLIN
PFIZER-EX0.00965    MARILYNW        GORDON
PFIZER-£X~          OAVIDC          GILLON
PFIZER-EXCL00965    RONALOP         HERRMANN                       MARY ELLEN HERRMANN
PFIZER-EXCL00966    FllANK A        MOllEW                         DCINNA A MOllEW
PFIZER-EXCL00967    PETER           ST(J(R
PFIZER·EXCL00968    SKARONL         GLICK
PFIZER·EXCL00969    IARBARA         TlRWIWGER
PFIZER-£XCL00970    JAMESW          LITTLE
PFIZER-£XCL00971    AK£             UNO£N                          EVAUNDEN
PFIZER·EX0.00972     JAMESD                     HUO:AIAY
PFIZER·EXQ.00973     DANIEL W                   GUNDERSON
PFIZER.(XQ.00974     EDWARDJ                    BRZEZNIAK          JANET BRZEZNIAJC
PflZER·EXCUl097S     HERMANJ                    WYATI
PFIZER·EXQ.00976     WIWAMJ                     MURPHY
PFIZER·EXQ.00977     AllCE L                    SIESS
PFIZER.£XQ.00978     MARTHAC                    MARTIN
PFIZER.(XCL00979     LLOYDF                     ANDERSON
PFIZER·EXQ.1)()980   PATRIOAL                   STANKO             PATRICK A OIASSI FAMILY TRUST
PFIZER·EXQ.00981     MICHAELA                   OIASSI
PFIZER·EXQ.00982     BRITI                      STRANDBERG
PflZER·EXCUl0983     KINOLYBO                   PETERSSON
PFIZER.£XQ.009114    EVABAITI                   UU(NGA£N
PFIZER.(XQ.00985     LEIF                       NORMAN
PFIZER.(XCL00916     ANNEMARIE                  TORNGREN
PFIZER.(XQ.00987     ANNEMARIE                  TORNGREN
PFIZER-EXQ.00918     KAAI                       JOHANSEN
PflZER..(XCl00989    RUNE                       HllDOR
PFIZER.£XCl.00990    lllVEKA ANN KRISTIN        ISAltSSON
PFIZER.£XQ.00991     KARL GUSTAV                SVANTESSON
PflZER.(XQ.00992     LARS GORAN                 PALSSON
PFIZEll·EXa.00993    ANITA                      BOSTROM
PFIZER-EXCl00994     MARTEN                     JONSSON
PFIZER..(XCL0099S    MARTEN                     JONSSON            OSKAA JONSSON
PFIZER-EXCl00996     MARTEN                     JONSSON            ERIKA JONSSON
PflZER..(XQ.00997    KARIN                      Al.Ml.av
PFIZER-0Cl00998      Kum                        THORESEN
PFIZER-EXCl00999     JOAN                       ISEMAN
PFIZER.[XQ.01000     JEROMlJ                    JAGIELSKI
PFIZER·EXQ.01001     BENGT                      ERIKSSON
PFIZEIHXCl01002      JANET                      ROSENBERG
PflZER.[XQ.01003     MARIANNE                   THOMASSON
PFIZER.£XQ.01004     ERi.ANO                    SMITH
PFIZER-OQ.01005      BOZE NA                    GREN
PFIZER-0Cl01006      lllYEKA                    GREN
PflZER..(XQ.01007    JUSTIN                     MANGER
PFIZER.(XQ.01008     NELLY                      FREUOENTHAI.
PFIZER-0Cl01009      ST1G                       BAOIPG
PFIZER·EXCLD1010     MARll.YN D                 STEWART
PFIZER·EXQ.01011     KERSLIN                    SMITH
PFIZER-EXClD1012     STEPHENl                   NORTHCUTI
PFIZER-EXQ.01013     JAMESP                     FELTON SR
PFIZER-OQ.01014      THOMASE                    DINEEN
PFIZER.(XCL0101S     DENISE                     LILLY
PFIZER.(XQ.01016     LOUISE FRANCES             FROST
PFIZER·EX0.01017     ASTRID                     LUNDIN
PFIZER.fXQ.01011     NORMAlA                    NASH JR
PFIZER.£XQ01019      GLORIAI                    GOMEZ
PFIZER.[XQ.01020     GRAaM                      MCCORMICK
PflZ[R.(XQ.01021     EDWARDY                    ROTNICKI
PFIZER.fXQ.01022     EDWARDY                    ROTNICKI           MARY M OOIRY ONEY
PFIZER.fXCl01023     GEORGE A                   WOOLDRIDGE
PFIZER-EXQ.01024     OIAOEl.EA                  FISHER
PFIZER.fXQ.01025     TIMOTHY GEORGE             MALYEN
PFIZER.(XQ.01026     ROIERTF                    PERRONE
PFIZER-EXQ.01027     JANET KAY                  WRIGHT
PFIZER.fXQ.01028     MOMINO£R KUMAR             SHARMA
PFIZER·EXCl0102t     THElMAM                    IAMBAUER
PFIZER·EXQ.OlOlO     BARBARA L                  VICKERY
PFIZER.fXCl010l1     WESl.EY                    WOllD
PFIZER.fXQ.01032     JIMMYC                     Hill
PFIZER.fXQ.01033     BETTYAllEN                 SANDERS
PFIZER-0Cl010l4      AllENR                     HERR               tvElYN C HERR
PflZER.(XQ.01035     LARRY(                     PULEY              GLORIA DIANNE PlllEY
PFIZER.fXCl010l6     JOHND                      LEINEN
PFIZER.(XQ.01037     HOllYA                     LEPPERT
PFIZER-EXQ.01038     YAOR                       Of SOUZA
PFIZER.fXQ.01039     FAYETIE THOMSON            ASHLEY
PFIZER-EXQ.01040     PIN KAI                    w
PFIZER.fXQ.01041     ELEANOR A """"'DECEASED!   AUSONAHOOO
PFIZER.fXQ.01042     JAMES EDWARD               BRINKERHOFF
PFIZER•EXQ.01043     JUDITHA                    SHAVER
PFIZER.fXQ.01044     KAAINMAlt-                 UNDQYIST
PFIZER.fXCl01045     DAVID                      THIEDERMAN         CHERYl THIEOERMAN
PFIZER.fXQ.01046     WIUIAMB                    COOK               BONNIE T COOIC
PFIZER.fXQ.01047     FRANKC                     CASWELL SR         El.EANOR M CASWELL
PFIZER.fXCl0104I     JOSEPHH                    HAI.Al
PFIZER-EXQ.01049     YERNlESUE                  WRIGHTIOEC£ASEDI   WAlTRAUT WRIGHT
PFIZER.fXQ.01050     MARGAAn                    OEMPSltl
PFIZER-EXQ.01051     ROSEMARY£                  MCKINZIE
PFIZER.fXCl01052     ONOYL                      ROTIINGER
PFIZtlt-£XCL01053    KATHLEENO            FAULKNER
Pf1ZER.£XCL010S4     THOMASV              MULV£Y
PFIZEIHXC101055      NVAN                 BEUSEKOM               ATTN ANGEL W BROAOHAX PER REP
PflZER·EXCL01056     ALEXANDER            MACKENZIE
PflZER.£XQ01057      BEAT                 !£AN8EAG
PFIZEA·EXC101058     PAUi. ANOllEW        LASKI                  JOLASICI
PFIZEA.£XCL01059     BRENOAK              MCKINNEY
PFIZER.fXCL01060     JANEL                CROWLEY
PFIZER-£XCL01061     HORST HILMAR         POMMERENING
PFIZER-£XCL01062     NORMA                GARZA
PFIZER..£XC101063    LAURIE               LAMBERTH
PFIZER.£XCL01064     STEVENA              WILBURN
PFIZER..£XCL01065    CHARLES              WOLLASTON
PflZER.fXCL01066     QAUDIAS              KIUIAN
PFIZER-£XCL01067     LOARAINEI            MARTIS
PflZER.fXCL01068     CHRISTOPH(R PAUL     BROWN
PFIZEA·EXC101069     PAUl.WIUIAM          VANWEL
PFIZER.fXCL01070     MARIANNE JENSEN      WAERN
PFIZER-£XCL01071     MARYEUEN             fEIOElMAN
PFIZER.fXCl01072     EVA                  HIOAT
PflZER.£XCL01073     MOOIKOI              CHUA
PFIZER.fXCl0107•     MARYANN              mPHEN
PFIZE1t.£XCL0107S    DANIEL               CATE
PFIZEll.£XC101076    QAIGC                WEHSLEY
PFIZEll·EXCL010n     SHlllLEY H           TOBIN
PFIZER·EXC101071     BAlllAAA             fLAGEOLE
PFIZEll.£XCL01079    IOA                  IAl80Ul
PFIZEll.fXCl01080    KARL                 GUMM ESSON
PFIZEll.£XCL01081    EOWAROJ              HAYDEN IV              MARCYAHAYOEN
PFIZER-£XCL01082     EDWARD I             HAYDEN IV
PFIZEll.fXCL0108S    DELVIN II            KNIGHTJll              AlmEWIUCOX
PFIZEll.fXCl01084    IH6MAll              CHRISTENSSON
PFIZEll.£XCL01085    BETSY                MCELVEINSOULE
PFIZEll.£XCL01086    ANDREW               F£1111UCO              ROSEMARY F£ARUCO
PFIZEll-£XC101087    MICHAEL              DEPALMA
PFIZEll.£XCL01088    ANDERS               HAU.STllOM
PflZElt.£XC101089    MARIE                HAU.STllOM
PFIZEll.£XCL01090    JAN ANDERS LENNART   BEllGLUNO
PFIZEll·EXC101091    DARlllHlfE           BROWN
PFIZER.£XC101092     LARA ANH             BROWN
PFIZER.£XCL01093     H(NltlC              ASCHAN
PFIZEll·EXCL010M     MARTHA FAYE          DAVIS
PFIZEll.£XCL01095    GREGER               BEllGLUNO
PFIZER.fXCl01096     ANTON                BERGLUND
PFIZEll.£XCL01097    FREDERICKM           LOW
PFIZEll.fXCl01098    EDWARDS              HA'IOENIDECEASEDI      ROIEllT E HA'IOEN
PFIZEll.fXCl01099    JOSEPH VINCENT       KlllCEUll
PFIZER.fXCLOUOO      OIANEI               ARCUl.US
PFIZEll-EXCL01101    lfNf                 BROWN JRIOECEASEO)     IVAHIROWN
PFIZEll.£XC101102    Oll.EEPL             KHEDEKAR
PFIZEll.fXCl01103    TMOMASE              DECHANT
PFIZER.fXQ.01104     ICATHLEENM           DECHANT
PFIZER·EXClOUOS      GEORGEW              OlSEHIOECEASEDI        G JANEm Ol5ENIDEC£ASEOI
PFIZER.£XCl01106     ELUOnA               SMART                  GAAa N SMART
PFIZER.£XCl01107     JESSICA              COMANIUK
PFIZEIHXQ.01108      PETERD               PAPPAS
PFIZEll-£XCL01109    JANEL                CROWLEY
PFIZER.fXCl01110     CHARLESE             REED
PFIZER.£XC101111     NANCY LOUISE         ST GERMAIN nu
PFIZER-OClOl 112     MARYF                OEKLVH
PflZER.£XCl011U      BEATA                SICOLO                 UllHALLEN
PFIZEll.fXClOl 114   STIG                 SIMONSSON
PFIZER.fXQ.01115     EDWARD               COllCTJRAN10ECEASEDI   MARV LOU CORrnR.&NIAOM•ll
PFIZER.fXClOl 116    JOANN                LONG
PFIZER..£XCL01117    ERIC WILLIAM         NORDSTROM
PFIZER..£XCL01118    DR FREDERICK         AURIACHIOECEASEDI      MICHAEL AURIAOt
PFIZER-0Cl01119      LARSE                GIUBERG
PFIZER.()(Q.01120    ANH£                 EROUHG
PFIZER-£XCL01121     BONNY                OISSELBRITT
PAZER-OCL01122       Ul.LA                FORSBERG               JOEN FOllS8ERG
PflZEll.()(Q.01123   VMITOtEll            USS
PflZER.()(Q.0112•    KRISTINA             ELFVIK
PFIZER.fXCl80001     WIUIAMM              RUSSELL
PFIZER-OCU0002       ALFRED               STllOlllNG             JUOITH STllOllNG
PFIZEll.£XCL80003    EUSA8ET UHNEA        H\JLTEN
PFIZEll-£XCU0004     MELVIN               TlllITT                MARSHATlllITT
PFIZER-£XCL80005     OAVIOI               TAHERI
PFIZER-£XCL80006     FRANCESCO            OARHIEllO
PFIZER-OQ.80007      ROBERT               llA£HR
PflZER.()(a.80008    ANTOINETTE           WEISER                 IOHNW!ISER
PAZER..£XCL80009     JAMES                HOWEil
PFIZER.£XClJ0010     LESlEY TRUE            MORRIS
PFIZER·EXCL80011     H€DYC                  GILMORE IRA
PFIZER-EXCUI0012     OAYID                  SHAPIRO                  DAVID & LENORE SHAPIRO TRUST
PFIZER.£XCl80D13     PETERN                 KENT LMNG TRUST
PFIZER-£XClJ0014     JOHN                   LIHANIPHD
PFIZER.£XCL80015     Gl.AOYSJ               ATKINS                   RONALD 8 ATKINS TIEE
PAZER-Exaeoo1&       WllllAMV               GOEBEL
PFIZER.£Xal0Dl 1     VELMA FAYE             THOMPSON
PFIZER.£XCLIOD18     ELWOOOG                CARR                     RCISALIE N CARR
PFIZER-EXCl8001'     WALTERC                SHOWEN
PFIZER.£XCL80020     TIMOTHY[               WALSH
PFIZER.£XCL80021     DEL8tRTA               PASCOE
PFIZER.£XCU0022      MAllGARETB             HUMBLE
PFIZER-EXCL.80023    NORMAN                 MARSH
PFIZER.£XCl80024     MARGARETA              80HACOO
PFIZER-EXQ.80025     HUGOM                  OEUGTISOt
PFIZER.£XCl80026     8ARBARAANN             GURGEL
PflZER·EXCl80027     JR08fRT                O"OOHNELL
PFIZEll-£XCl80028    R08EllT8               VOLPI
PFIZER-(XCL80029     FAllltW                SOtAOIT
PFIZER-(XQ.80030     PATlllCIA              ANDRES
PFIZER-£XCL800U      DORIS                  KELLY
PFIZER·EXCL80032     MARIONF                SOtROEDER
PFIZER·EXCL800H      MAllKA                 TURUCK
PFIZER·EXCL80034     MARGARETM              POWELL
PFIZER-EXCL.80035    HELEN LEE              JAMISON
PFIZER.£XQ80036      GEORGE W1LUAMl811.L)   SOtURR                   MARGARETIPEGGYJ
PFIZEll.£XCL800n     RUNE                   MAGNUSSON
PFIZER.£XCU0038      IRENE THERESA          HOPPER
PFIZER.£XCU0039      ULLA                   JANSSON
PFIZER.fXQ.80040     ESTHER                 SUTER
PFIZER-OCl.80041     KEIKO                  NAKAYAMA
PFIZER.fXCl.80042    COLLENP                PILZ
PFIZER.£XCL80043     CARMEN DE IA           CRUZ                     HENRY ROSEN
PFIZER-£XCUI0044     CAROLVNEP              swtNSEN
PFIZEll.£XCL80045    JOllNM                 DRISCOLL
PFIZER-EX~           IAN                    GRUBB
PFIZER.£XCL80047     0£-M                   IEAJIDSLEV               DARWIN 8 IEAJIDSLfV
PFIZER.£XCU0048      HUGHE                  HUGHES
PFIZER.£XQI0049      ROBIN                  ELLIS
PFIZER-£XCLIOD50     um                     STl\ANOIERG
PFIZER-OCl.80051     KATHRYN A              LE-
PFIZER.£XQ80052      RACHELi                DAVIDSON
PFIZER·EXQ80053      INA&KIAUS              OUCH
PFIZER.£XCUI0054     JACQUELINE             LEUS
PFIZER.£XQ80055      LEON                   COLLET
PFIZER-£XQ80056      RITAM                  HM.I.ER
PFIZER-£XQ80057      LOUISE                 YOSHINAKA
PFIZER.£Xa.800SI     HENRY                  DALRYMPLE
PFIZER.£XQ80059      GREG                   OLDHAM
PFIZER·EXQ.80060     REINHARD & MARIANNE    MUECKE                   MT MUECKE SUPERANNUATION FUNO
PFIZER·EXCl.80061    LEAHDRO & ANGEIA       GIACOMELLI
PFIZER-EX~                                  BOSWORllt FAMILY TRUST
PFIZER-OCl.80063     SARAH A                MODEL
PFIZER-EX~           OUSHAN & NANCY         VUKOVICH
PFIZER-lXCl.80065    EntEL                  THOMAS
PFIZER-EX~           PATRIOAR               SNAPP
PFIZER.fXCl.80067    ROSEMARY               PABIOI
PFIZER.£XCLI0068     DAVID                  SEIBEL
PFIZEll.fXCl.80069   IRENEM                 EU RON
PFIZER·EXQ80070      ELLEN                  MOR8A
PFIZER.£XCLIOD71     LOIS                   STARK
PFIZEll·EXCL800n     UNOASUE                ALSOP
PFIZER.£XCL8007J     RICHARD & VIRGINIA     GORMAN
PFIZER-EXCL80074     JANISD                 REIMAN                   JROGERDU
PFIZER.£XCL80075     LUCILLE 8              MCHUGH
PFIZER-£XCU0076      WILLIAMA               SMITH
PFIZER-EXCUOOn       OONNAJEAH              AHGUN
PFIZER-EXCL8007'     JOSEPHINE              LINVILLE
PflZER.£XCl80D79     MARJORIE               RCITH




                                            -
PFIZER-EXCl.80080    HANCYU                 ANUUES
PFIZER-OCUOOBl       lltOMASG               BEALL
PFIZER-£XCL80082     VERONICA                                        HAHfFAMILYTRUSTI
PFIZEll.£XCLIODU     JAME5R                 BETIE
PFIZER.£XCLI0084     JANlaK                 CROWLEY
PFIZEll.£XCL80085    CARMENE                GAROA
PFIZER-OCUOOB&       ALI                    ANDERSON
PFIZER-£XCL80087     JUDITH l               HUL£TT
PFIZER.£XCL800BB     JANlaD                 scon                     LARRYGSCOTI
PFIZER.fXCl.80089    MARLENE                CARRIKER
PFIZER-£XCLIOD90     LOIS8                  DRURY
PFIZER.£XCUI0091     MICHAELO            MCDANIEL
PFIZER-EXCU0092      LINOAM              IEUINS
PFIZER-EXCUI0093     LESLIE E            Wll.SON                     ALICE M Wll.SON
PFIZEll.·EXCll0094   WALi.ACE            H(RPl(H                     KAREN HERPICH
PFIZER.£XCUI009S     OElPHUSR            HOOD                        SHARONHOOO
PFIZER-£Xa80096      OE8RAKAY            LEWIS
PFIZER.£XCUI0097     CHARLES             LOMOHACO
PFIZER-EXCUI0098     MARIE               LOMONACO
PFIZER.£XCl.80099    ROHRT A             BAEHR
PFIZER·EXCUIOlOO     CHARMARH            SIMES
PFIZER.£XCUI0101     JAMESM              THOMPSON
PFIZER·EXCl.80102    JAMESS              HEPLER
PFIZER·EXQ.80103     GILBERG             BENAZZI
PFIZER·EXQ.80104     PAULO               GODFREY
PFIZER.£XCL8010S     FREOC               SCHERER
PFIZER·EXQ.80106     NANCYM              SCHERER
PFIZER.£XCUI0107     CHARLESO            KOVAN
PFIZER.£XCUI0108     ROBERT              KRIEGER(OECEASEOI           NANCY KRlfGfR
PFIZER-EXQ.80109     ELLAMAE             HARRISON
PFIZER-EXQ.80110     RICHARD A           COLEY
PFIZER-EXQ.80111     JOANNE K            ROM80510
PFIZER.£XCUI0112     MARGARET JO         FAXON
PFIZER-EXCUIOlU      MARLENfANN          AUGOAHL
PFIZER-EXCUIOU4      LAURAi              PATifRSON                   ROBERT W GRUBER
PFIZER-EXCUIOUS      RONALD              KORNIOCE
PFIZER.£XCUI0116     PAMELA I            OOWNNG TRUSTEE              DOWNING FAMU TRUST
PFIZER-EXQ.80117     MICHAEL             llUSICHIO
PFIZER-EXQ.80118     CATARINA            JACOBSSON
PFIUJt-EXQ.80119     HANS                ENERHAU
PflZER.(XCL80120     ELISABET            FREORIKSSON
PflZER.(XQ.80121     DOTTY I             KNOESS
PFIZER.£XCUI0122     KENNETH             TAYLOR
PFIZEIHXCL80123      EVELYNL             STOOCMAN FAMll.Y TRUST      KAREN GOlOSMITH
PFIZER-EXCL80124     BARRY               ROTHENBERG
PFIZER-EXCUIOUS      LEE& BETTY          TRAUTMAN
PFIZER-EXCUI0126                         INVESTORA8                  PETRA HEOENGRAN
PFIZER.£XCU0127                          WAV£SM(£T UMITEO
PFIZER-EXCUI0128     ANOllE              JllOWtO
PFIZER-EXCUI0129     NOELLA              DIETZ
PFIZEMXCUIOUO        MILINO              RAO
PFIZER-EXCUIOUl      IOSEPHL             OEFRANGE
PFIZER.£XCUIOU2      STANLEYF            WASOWSKI
PflZER-EXQ.80133     HEUNJEAN            CHENEVERT
PflZER-EXCL801J4     CHARLES             WOOD
PFIZER.£XCL8013S     ROHRT LEE           GREER
PFIZER.£XCUIOU6      SAllY               POLLARD TR                  JANE POLLARO ROYER nu
PFIZER.£XCL80137     DOROTHY             LINOl!l.DOM
PFIZER-EXCUIOUI      RUSSEU & MARGARET   KNUllLEY
PFIZER-EXCUIOUt      RAMON               GONZALEZ
PFIZER-EXCL80140     TIMOTHY OUN         HENSON
PFIZER-EXCL80141     MARKI               IRAOLE'I TRUSllt            FIOllEllllETH OOEMOUUll TRUST
PFIZER-EXCUI0142     MARKI               IRAOLEY TRUSTEE             FBO KENNETH 0 OEMOUNUN TRUST
PFIZER-EXCL80143     ELIZABETHM          8RAOlfY                     CGM IRACUSTOOIAH
PFIZER-EXCL80144     DOUGLAS & DOROTHY   VANERIA
PFIZER-EXCUI014S     DAVIOJ              QNK
PFIZER·EXCL80146     GEORGE I            GHAZAROSIAN FAMll.Y TRUST   REGINA K AMERSON TRUSTEE
PFIZER·EXCL80147     EDNA                ROYAL
PFIZER·EXCUI0148     GALE                OPRA
PFIZER-EXCUI0149     GUNILLA             HOLM
PFIZER-EXCL80150     CATHERINE           RONEY
PFIZER-EXCL80151     JOHN                MALLICK
PFIZER-EXCL801S2     AN ORE              DORAIS
PFIZER-EXCL80153     ELIAS & EUGENIA     ASHEY
PFIZER-EXCL801S4     8ETSYHOFF           JASINSKI
PFIZER-EXCUIOlSS     RICHAROA            JASINSKI
PFIZER-EXCL80156     RICHAROA            JASINSKI
PFIZER.£XCUI01S7     BECKY               JENKINS
PFIZER-EXCUI0158     JUOITHC             ERNY
PFIZEMXCUI01S9       111ua               GROVES
PFIZER-EXCUI0160     RIOIAROT            TANNER
PFIZER-EXQ.80161     ANIBAL              MARRERO
PFIZ£R-EXCUI0162     CHARLES             LUMSDEN
PFIZER-EXCL80163     AGNfS MACLAREN      QRNY
PFIZER-EXCL80164     BILLY R             LORD
PFIZEMXQ.80165       EUSE                ZIMMER
PFIZER-EXQ.80166     TINA                SRIVATSA
PFIZER.£XCL80167     MARILYN I           RUSSELL
PFIZER.£XCL80161     LANaEOMUNO          LARSEN                      GENEVIEVE 0 LARSEN
PFIZER-EXCl.80169    CARLE               ZUA80RG
PFIZER-EXCUIOl 70    LESTfR L            NIOAH                       AlllGAll. V MOA
PFIZER-EXCUIOl 71    DAVIDA              GRONNING                    KATHERINE L GROONING
PFIZER-EXCl80172     DAVIOA              GRONNING                    KA THERINE LGROOHING
PFIZER-EXQ.80173     DANA                TREMAINE
PFIZER-EXCUI0174     JOHNE               YOX                         MAllYEYOX
PFIZER-EXCl80175     PAOLO               CREMONESI
PFIZER-EXCUI0176     DOHC                JENS(N
PFIZER-EXCL80177     CRAIGlYNN           HARRIS
PFIZER-EXCL80178     JIMMYL              Cl.ARY                      MAIUOR9' A Cl.ARY
PFIZER-EXCL80179     MURRAY J            SMIOT
PFIZER-EXCL80180     LAllAINEA           CALLAHAN
Pf1ZER-EXCL80181     lOHNF               RYAN
PFIZER-EXCL80182     BAllllARA RUTH      COHEN                       DAVID MAlERAY COHEN
PFIZER-EXQ.80183     DANIElL             OESTREICH
PFIZER-EXCUI0184     JEAN(               MCLEOD
PFIZER-EXCL80185     DOAUANANN           JOHNSON
PFIZER-EXQ.80186     REBECCA ANNE        THOMAS
PFIZER-EXQ.80117     CAROLYN             NESTLER                     UWO SAMUEL T REYNOLDS
PFIZER-EXCL80111     DAVID               AOELBERG                    NAOMI AOELBERG
PFIZER·EXCL80119     MARY                BIEOKA
PFIZER-EXCUI0190     REGINE              GRONWOLDT
PFIZER·EXCL80191     MRI                 CAMERON                     MllS AC CAMERON
PFIZER-EXCL80192     ANTONIO             MASCIOU
PFIZER-EXCl.ll0193   UNHAllT             VALOEMAllSSON
PFIZER-EXCL80194     CAROLINE            VALOEMAllSSON
PFIZER-EXCl.ll0195   HELEN I             TIMM
PFlZER-EXCl.ll0196   CHARI.ESE           BAllRETTIOECEASEDI          CAROL 1 BAllRm
PFIZER·EXCLI0197     CARMEN              DELACRUZ
PFIZER-EXCl.ll0191   COLLENP             PILZ                        [C/O ROIERT L ARLEO
PFIZER-EXCLI0199     KAREN               PETERSON IRA
PFIZER-EXCL80200     MELISSA             DOAN
PFIZER-EXCl.ll0201   BETTY               MCOAVIT
PFIZER-EXCl.ll0202   BETTYS              SC(ARA
PFIZER-EXCl.ll020J   WIWAM SAMUAL        CREEO
PFIZER-EXCl.ll0204   lOHNW               llllGGS TRUST•ivaAS£DI      IKATHll M BRIGGS TRUSTEE
PFIZER-EXCl.ll020S   PHii.UPC            WARD
PFIZER-EXCl.ll0206   PH ..UPC            WARD
PFIZER-EXCl.ll0207   llANOOLPHL          ARONIEGE
PFIWt-EXCUI020I      DORIS               KLEGA                       nANll'I   KLEGA
PFIZER-EXCl.ll0209   THERESA             KOl'ERA
PFIZER-EXCU0210      JAYW                TILW •••OECEASEDI           CHARLOTTE TIUES BENEFICIARY
PFIZER-EXCLI021l     1£REMYFB            MOYLER
PFIZER-EXCLI02U      JAN STARICW£ATHEA   CARLSON                     DONALD STARKWfATHElllOECEASEDI
PFIZER-EXCLI0213     DOHALOA             PllNEY                      LOUIS I PILNEY
PFIZER-EXQ80214      KENN€TH             LIVINGSTON
PFIZER-EXCL80215     UGE                 QAYTON
PFIZER-EXCL80216     CATHERINEM          SHAHK
PFIZER-IXCL80217     EMU                 SORRELl
PFIZER-EXCL80211     ALFREDT             KOEHLER
PFIZER-EXCl.ll0219   OEBRAD              SCOTT
PFIZER-EXCL80220     LUCllU MYRA         LAHGE
PFIWt-EXCl.ll0221    DANIEL              GALUSKA
PFIZER-fXCl.ll0222   ALAN                SCOTT                       A & G SCOTT PTY ATF SCOTT
PFIZER-EXCL8022J     IERRYF              DAVIS
PFIZER-EXCL80224     LAWRENCEW           MUl.UNS                     ~MMllWNS
PFIZER-EXCl.ll022S                       FBC TUCKER ENDOWMENT FUND
PFIZER-EXCL80226     ROHALOC             SMITHTR                     RONALD C & JOAN I SMITH FAM TR
PFIZER-EXQ80227      SHlRI               HAMM
PFIZER-EXCL80221     JODY£               HOl.LENBECK                 SCOTT LMNG TRUST
PFIZER-EXCL80229     BATAMI              RAPPAPORT                   DAVID RAPPAPORT
PFIZER-EXQ802JO      JOHN PATRIQ(        AHEAANIOECEASEDI            EUZA8€TH ANNE AHEARN
PFIZER-EXQ80231      THOMAS              ANDERSON
PFIZER-EXCL80232     ELIZABETH B         BZOllEK
PFIZER-EXCL80233     OIANEL              OLS(N
PFIZER-EXQ80234      PAUL THOMAS         SCHROER COVERDELL ESA
PFIZER2-EXCL00001    JOHNW               GERE(J(f                    JUNE GERE(J(E
PFIZER2-EXCL00002    MARGARETA           URE
PFIZER2-EXCL00003    AUaM                RICHERT
PFIZER2-EXCL00004    JOHN                LAKOTIC
"'ZER2-EXCL00005     DONNAJ              1MOMPSON
PFIZER2-EXCL00006    JIMMIEN             JONES                       GLORIA J JONES TTEE
PFIZER2-EX0.00007    ANN                 HUTCLWON
PFIZER2-EXO.OOOO.    GILIERTD            LAHCEIOECEASEOI             UHOALLAHCE
 PFIZER2-EXCL00009   BENC                KELlYlll
 PFIZER2-EXQ00010    FREOERl(J(J         WALMSLEYIOECEASEDI          SUSAN KWALMSLEY
 PFIZER2-EXCLOOOU    MARIAN              IOllUER
 PFIZER2-EXCLOOOU     DANIELi            BRINKMAN&                   KAREN D BRINKMAN TTEE
 PFIZER2-EXCL00013    OHL & C MARGARET   l.EPAGl 1913 TRUST
 PFIZER2-EXCL00014    ROllRTH            Fl.OWERS
 PFIZER2-EXCL00015    BAllBARA           SHINKLE
 PFIZERHXCL00016      QIFFOllD L         PH..LIPS                    F -"""0EctA5EDI
 PFIZER2-EXCL00017    IOS(PH              GIANHONE                   CHRISTINE GIANNONE
 PFIZER2-EXaoCJOlt    HAllRY              VANUEN
PFIZER2.£XCUl0019     DONNA                BOOZER
PFIZERZ-EXC\00020     ESTATE OF HEl.(N 0   MEl.Z£R                    RICHARD J MELZER
PFIZERHXC\00021       JOS(PH VINCENT       KRICEKJR
PFIZER2-EXC\00022     KARLA                SCHOl.2
PFIZER2-EXC\0002J     LUOUER               KERNER
PFIZER2-EXCL00024     HERBERTC             COHEN                      JOSl:PHINE M COHEN
PFIZERMXCUl0025       RICHARDM             STEVESON
PFIZER2-EXC\00026     CAROi.ANN            OHlANOT
PFIZER2-EXCL00027     FRANKL               TtCHENERtDECEASEDI         KAREN M TITCHENERIDECEASEOI
PFIZERl-EXC\00028     RITA                 TONITIO
PFIZERl-EXC\00029     ULUAN                YORMARK
PFIZER2·EXC\00030     MURRAY J             SMIOT
PFIZER2-EXCL00031     CllARLOTIE           SCHlfFEROECKER
PFIZERl-EXC\00032     VANCE                BROWN
PFIZER2-EXC\OOOU      CUFFORDL             PHIWPS                     F PHUIPSIDECEASED)
PFIZER2-EXCl00034     BETHANNE             KOONS
PFIZER2-EXC\0003S     EDGARD               MIUARDtDECEASEDI           JOAN M MIUARD
PFIZERl·EXC\00036     ESTATE OF ISABEL     UTTERMAN                   lESLEE LWECHSLER
PFIZEllHXC\00037      HElEN                SHEU
PFIZER2-EXCl00038     JANETC               AlEXANDER
PFIZERHXC\00039       PHlllPA              PESSONI
PFIZ£R2-EXC\00040     JANET                PALMER
PFIZER2-EXC\00041     MARYi                llENAZZI                   GIUIERT 8ENAZZI
PFIZER2-EXC\00042     CHAUNCEY             BRYANT
PFIZEllHXC\00043      CllARlESC            WOUASTON
PFIZERl·EXC\00044                          WATERFORD INVESTMENTS UC   JON MARK MCGINNIS
PFIZER2-EXCl0004S     PATRICK L            CONWAY                     EUZAllETH A CONWAY
PFIZER2-EXQ00046      HOWARDD              ESTES                      HELEN V ESTES
PFIZERHXCl.00047      RICHARDS             lllAIR
PFIZER2·EXCl.00048    llETTYL              MIHALIK IRA
PFIZER2·EXCl.00049    HARRY                lAKINlDECEASEDI            GAllCE D lAKIN                    I
PFIZERHXCl.OOOSO      DIANA                8AXER                                                        I
PFIZE1l2-EXCl.OCOSt   F90ANITAS            ZEDNIKmE                   THE JAY J ZEDNllt LIVING TllUST
PFIZER2-EXCl.OOOS2    JANET                SOt\JlTZ
PFIZER2-EXC\OOOSJ     $YI.VIA M            SCHIMMEL
PFIZER2-EXC\00054     OtESTER F            KOSTUS                                                       I
PFIZER2-EXC\OOOSS     SANORA               DIMARTINO                                                    I
PFIZER2-EXCl.00056    MARI.ENE A           AUGOANI. POA               DENNIS WARREN AUGb.t.WllOCSO\     I
PFIZER2-EXCl.OCOS7    MARY                 BARNHOUSE
PFIZER2-EXCl.00058    JANETM               OllOHA
PFIZER2-EXC\00059     CllARlESE            BARRmlOECEASED)            CAROl J BARRm
PFIZER2-EXQ00060      HER9ERTE             HANEY                      DOROTHY D HANEY
PFIZEll2-EXCl.00061   NANCl'C              HAYOEN TRUSTEE             FBO JESSIE 8 JOHNSON
PFIZElll-EXCl.00062   MARYY                W£Sl(Y
PFIZERHXC\00064       FRANCESL             ORTEGA
PFIZERHXCl.00065      IEANmEE              THORNTON
PFIZER2-EXCl00066     CATHERIN(            HOBLOCK
PFIZERMXCl.00067      OCINALDF             PACKARD                    JOHN S PACKARD
PFIZElll-EXCl.00068   CHARl.(SW            9ROWH
PFIZER2-EXQ.00069     MARIANP              llNDEU
PFIZER2-EXCl.00070    JOAHR                JENS(NTR                   JENSEN FAMILY TllUST UA 1/21/91
PFIZER2-EXCl.00071    JOAHH                HILL
PFIZERHXCl.OOOn       NORMAW               DU81.YNN
PFIZER2-EXC\0007J     INGE90RG             SCHUSTER
PFIZER2·EXCl00074     MAUllElNE            ARVIG
PFIZERZ-EXCl.00075    SUEEUEN              GOl.OEN
PFIZERZ-EXCl.00076    SUEEUEN              GOl.OEN IT WROS            TERENCE M GOl.OENIOECEASEDI
PFIZEll2-EXC\00077    LUONOAANN            GARNAOtE                   GARY OlMR GAllNAOtE
PFIZEll2-EXCl.00078   JOHNF                UTZSINGER
PFIZERl-EXCl.00079    RONAlOL              HENDRICKS
PFIZER2-EXCl.00080    JUDITH               MERCATANTE
PFIZER2-EXCl.00081    LOU                  JOHNSON
PFIZER2-EXCl.00082    GLAYOSR              TAYLOR
PFIZERl-EXCl.00083    PATRIOA              VONPOSOt
PFIZERl-EXCl.00084                                                    DOW WAT OtERS INVESTMENT Cl.UB
PFIZER2-EXCl.0008S    BETHA                HAWK
PFIZEllHXCl.00086     SUSANNE              ERIKSSON
PFIZERl·EllCl.00087   THOMAS               COWROY
PFIZER2-EXCl.00088    MARCEL               GUAOAGNINI
PFIZERZ-EXCl.00089    IRENE                BISHOP
PFIZER2-EXC\OOO!IO    DOMINICC             PAOW
PFIZER2-EXCl.00091    JOYCE                GOlDEN
PFIZERl-EXC\00092     URSULA               SCHUSTER
PFIZER2-EXC\0009J     SARA                 WOl.O
PFIZERZ-EXCl.00094    ELMERD               flNSXEPOA                  KAREN A FINSKE
PFIZER2-EXCl.0009S    CAROlJ               HOFF
PFIZER2-EXCl00096     GUILUARDD            THOMPSON
PFIZERZ·EXCl.00097    EUGENE               ORAEG(R                    MARllTIA E ORAEG(R
PFIZERZ-EXCl.00098    WILLIAMT             STEWART
PF1ZER2-EXCL00099     MELVINW              POLKINGHORN
PFIZERHXC\00100       BETTYM               Gll8ERTSONIDEaASED)        UNOA GILllERTSON STEVENS
PFIZERHXCU>0101     STUAllTW           WOOUEY
PFIZER2-EXCl00102   EDWAllDM           STEELE
PFIZER2·EXCl00103   GORDONM            O"DELLIDECEA5£DI     IOYlON A O"DEU
PFIZER2-EXCl00104   NELSONH            KASTEN
PFIZER2-EXCl00105   MARYANNE           HARPER
PFIZER2-EXCl00106   CHARLESS           DOHN
PFIZERz.EXCL00107 JOSEPH               GVi't'               TERESAGUZV
PFIZER2·EXCl00108 FRANCS               MAXWELL
PFIZER2-EXCU>0109 GLORIAG              MORIN
PFIZER2-EX0.00110 CAROLYN              RATCLIFFE            FLORENCE GEYER
HIZERMX0.00111 MARISM                  KELLER
PFIZERMX0.00112 JAMESO                 8ECXER
PFIZER2·£XCl001U JUDITH                FORO
HIZER2-EX0.00114 ARUm                  DRll.LINGS
PFIZER2-EXCl00115 LINl>AD              PRESTON
PFIZER2-EXCU>0116 DAGREY               PAlMGRENIDECEASEDI   NIU PALMGREN
HIZERMX0.00117 EDWAllDG                LAWRENCE
PFIZER2-EX0.00111 ROSALEEM             MCGOURIN             WILLIAM C MCGOURIN
HIZER2-EXCU>0119                       lO'n
PFIZER2-EXCU>0120 PHYWSJ               SLENK                JOHN H SlENlt
PFIZER2-fXCl00121 JOSEPH(              REN1211RAI
PFIZER2-EX0.00122 81lLW                DEAN
PFIZER2-£XCU>0123 DOROTMYA             THOMAS
HIZER2-EX0.00124 ANITAS                ZEDNIKmE             JAY J ZEDNIK TIEE
HIZER2-EXCU>0125 WAUACEL               SCHOTI               BELVA JEAN SCHOTI
HIZER2-EX0.00126 JEANNEF               MCXIM
HIZER2-EX0.00127 VICTOR I              ROllNSDN             PATRIOA M ROllNSON
PFIZER2-EXCU>0121 llRGfTTA EUSAIET     ERIKSSON
PFIZER2-EXCl00129 Alf                  fKMAN
PFIZER2-EXO.OOUO GlllERT               ANDERSON
PFIZER2-EXO.OOU1 VICTORJ               DAllAROSA            PATRIOA A DAUAROSA
PFIZER2-EXO.OOU2 VICTORC               WEAvat
PFIZER2-EXCl.00133 FLORENCE            GLOGER
PflZ£R2-EX0.00134 DIANES               AAMC>OT
PFIZER2-EX0.00135 NANCY SMITH          GlllEIT
PFIZER2-EX0.00136                      SOtERREll
PFIZER2-EXO.OOU7 JOEN                  FORSIERGIDECEASEDI   UUA FORSIEllG
PFIZER2-EXO.OOU8 BOGUNNAll             ENGYALL
PFIZERHXO.OOU!I LYNN MARIE             PALM                 VICTORIA PALM
PFIZER2-EX0.00140 LYNNMAlllE           PALM
PFIZER2-EX0.00141 KRISJER              PALM
PFIZER2-EXCl00142 JAMES I>             HAMMEL               ll.ENEYHAMMfl
PflZER2-EXCU>0143 JANET                ROONEY
PflZER2-EX0.00144 ROGERS               OllAKE
PFIZER2-EXCL00145 CAROLA               ADAMSON
PFIZER2-EX0.00146 BnTYS                SCEARCE
HIZERHXCl00147 DAYIOE                  IEER
HIZER2-EX0.00148 HENRYR                l>AllUNGTON
HIZ£112-EXCL00149 PAULK                JfNS(N
PFIZE112-EX0.001SO BAlllAllA K         CASSIDY
PFIZER2-EX0.00151 LISAM                ClAllK
PFIZERHXCL00152 ABRAHAM                IRANCI               HELEN 8llAllO
PflZ£R2-EXCl00153 GENEM                STOYER
PFIZER2-EX0.00154 IERNITAL             MYERS
PflZERHXCl00155 MARTHA A               SOIUCX
PFIZEll2-EX0.00156                                          FIRST CHURCH Of CHIRST
PFIZER2-EXCl00157 BROR                 SJOllOM
PFIZER2·£XCL00151 JASPER               NAJARIAN
HIZEll2-EX0.00159 UNDA                 PATRICX
PFIZE112-£XCl00160 MARGOT A            MAYER
PFIZER2-£X0.00161 MURIELF              9UZARO
PFIZER2-EXCl00162 JOEN                 FORSIERG DECEASED    UUA FORSBERG
HIZER2·EXC10016S JOHN(                 COLSON
HIZER2-EX0.00164 MONSJTAE              CORREA
PFIZER2-EX0.00165 MARYi                LE UPP
PFIZER2-EX0.00166 RONALDE              IK(                  BAllBAllA HCE
HIZER2-EX0.00167 BAlllAllA HATCH       WYNNEIDECEASEDI      ROIERT N TUTil.E
HIZER2-EXCL00168 R08ERTM               SHOPPAllD
PFIZERl-fX0.00169
                    •
HIZER2-EX0.00170 ROBERT
                                       S(MPIEll
                                       KEHEW
HIZER2-EX0.00171 ICATH£RINU            GRONNING             DAYIO A GRONNING
               n
PFIZEll2-EXCl001    5(1                HOULE
HIZER2-fXCl00173 ALVIN                 COl.UflS             JEANINE DIANE COWNS
HIZEll2-EX0.00174 JACXR                IADOYE
PFIZER2-EX0.00175 TURE                 LUNDGREN
PFIZER2-£X0.00176 MARLENEH             NICHOLSON
PFIZEllHXClOOln LEEP                   KING
HIZER2-fXCl00171 NANCY                 KEllEGHAN
PflZElll-EXCl.00179 FRANK              BZOREK               EUZAIETH BZOREK
PFIZER2-EX0.001IO JUllANA              PENA JR
PFIZE112-EX0.00111 CHARIOTIE ROBERTA   BERTHOLD
PFIZER2-EXa00182     CAAOl E            RYDEN
PFIZ£R2-IXC\00113    CMARLESl           CROWE TRUSTEE        SANORA KAY CROWE FAMILY TR
PFIZER2-IXCL00114    MARK               ANO£RSON
PFIZER2-fXCL00185    EVAHI              WALIACH              CIRCUIT JUDGE
PFIZER2.£XC\00186    SAMW               DOWNING              SUSAN L DOWNING
PFIZER2-fXa00187     WllllAM llAYMONO   SCHAFFER
PFIZERHXC\00188      RITA               APEL
PFIZER2.£XC\00119    CATHERINE          H08LOCK
PFIZERHXC\00190      MARIONA            MUER                 LOIS S MILLER
PFIZER2.£xaoo1'1     MARIONA            MUER                 LOIS SMlllER
PFIZ£R2-EXCL001'2    LOUISE             YOSHINAKA
PFIZERHXC\00193      INGA-ULL           KARLSSON
PFIZER2.£XC\00194    LEIF               KARl.SSOtl
PFIZER2.£XC\00195    ROBERTG            lllAIR
PFIZER2.£XC\00196    ULLA               UNO
PFIZER2·EXC\00197    MAX                STREllEL
PFIZER2.£XC\00198    ESTATE Of MARYE    DUDLEY               SUZAHNE D DIAMOND EXECUTRIX
PFIZER2.£XC\00199    ADRIANA            0£1.EVA
PFIZER2-IXC\00200    STEVEN             IAPICCA
PFIZERHXC\00201      HELEN              OIGIA
PFIZER2.£XCL00202    JAMfSWARREN        OOOl.EY JR lllA
PFIZER2·EXC\00203    ROIERTW            KUNKEL SR            HENRIETTA C KUNK(l
PflZER2·EXCL00204    EARLW              THOMAS               SUSAN I THOMAS
PFlztRZ.£Xa00205     CONAllDW           HOAK
PFlztR2.£Xa00206     H£LENl             JONSSON10£CEASEDI    LINOAMTAFFS
PFIZER2.£XCL00207    COLEMAN I          CONNELL
PFIZER2.£XCL00208    MARILYNA           CONNEll
PFIZER2.£XCL002ot    IANSEAN            CHlllSTY
PFIZERHXC\00210      GAYG               ~
PFIZER2.£XC\00211    JOHNA              OUVER                MARYJOUVER
PFIZ£R2.£XC\00212    CARLN              Wlt.SONtOECEASEDI    Gl'INOA WM.SON TRUSTEE
PFIZERHXC\00213      BEYERLY UNOA       MACKAY
PFIZ£R2.£XCL00214    PATRICIA ANN       CYR                  OAVIOCYR
PFIZER2.£XC\00215    BEVERLY LINDA      MACKAY
PFIZER2.£XCL00216    THOMASL            CURTH
PFIZ£R2.£XCL00217    ANN                JOH$SOM
PFIZ£R2.£XCL00211    ERNEST WUIAM       HAUSER
PFIZ£R2.£XC\00219    GARY A             MERnFI
PFIZER2.£XCL00220    APRii.             MERRU
PFIZER2.£XCU>0221    PER ERIK           ROSANDER
PFIZERHXC\00222      ROGER              GARCIA
PFlztll2.£XC\0022J   DANIEL             OIGlllOl.AMO
PFIZER2.£XC\00224    MICHAEL            FRITZ
PFIZER2.£XC\0022S    CAROLA             DAWSON
PFIZERHXC\00226      JANICE lllUAN      CLEGG
PFIZER2.£XC\00227    MAUREEN            DONNELLY
PFIZER2.£XC\00221    SIWM-A             TOTTIE
PFIZER2.£XC\00229    LAUllAI            SHERMAN
PFIZER2.£XC\00230    KENT               ST~
PFlztlt2.£XCU>0231   BENGTALGOT         DAHL
PF1ztlt2.£Xa00232    ANOllEA            O'DONNELL            COLUMBUS O'OONNELL
PFIZER2..£XC\002U    LINOSAY            WHITTLE
PFIZER2·£Xa00234     JOSEPHO            RUSSO                HELENE L OIAOC RUSSO
PFIZERMXC\00235      PRAKASH            HOLALKERE
PFIZERMXC\00236      MARYA              ARNOLD
PFIZER2.£XQ.00237    WARREN             MEINTSMA40ECEASEOI   BETTY A MEINTSMA
PFIZER2-0CU>0"8      BENGT~             HERltSTROM
PFIZERHXC\00239      OAVIO              POOLE                GLORIA POOLE
PFIZER2.£XCL002~     MICHAEL            MURPHY
PFIZER2.£XC\00241    DALLAS I           FERRIS
PFlztR2.£XCU>0242    KENNETH            UUNGBERG
PFIZER2.£XCU>0243    PAULE              MYEllSIOECEASEOI     MARTHA J MYERS
PFIZER2-0C\00244     ROlFERIK           LOOF
PFIZERHXCL00245      KAvt               ROBERTS
PFIZER2.£Xa00246     IRUC£              BOWEN
PFIZER2.£XC\00247    ROSEMARY           BIEWALO              OONALO A BIEWALD
PFIZER2·EXCL00241    FRANCESCO          CIARNIRLO
PFIZER2-0CU>0249     ESTATEOFG          LOI/GREN
PF1ztlt2-EXCU>0250   FlORENC! M         EBEL
PF1ztlt2-EXCL00251   AMOl               AGANUAL
PFlztR2-fXC\00252    MARITA             ANGSIO
PFIZER2-EXCl00253    GAETANO GUY        ZAMBELLA             PATRICIA A ZAMBELLA
PFIZER2.£XCl00254    JOHNT              GINLEY
PFIZER2.£Xa002SS     lESTERJ            THARP                ICAYGTHARP
PFIZERHXC\00256      ELIZABETH          BZOllEK              FRANK IZOllEK IT TlN
PFlztR2.£XCU>0257    RONALDT            STEINCAMP
PFIZER2.£XC\00251    ROSEMARY(          MCKINZIE TRUSTEE     F10 WILLIAM E MCKINZIE Jfl &
PFIZERHXC\00259      GUNNAR             HALLIN
PFIZER2.£Xa002150    OOlOllfSI          WINTER
PFIZER2.£XCL00261    KERSTIN            IERGLUNO
PFlztR2-EXCU>0262    MARYANNG           FOLEY
PflZ£R2-EXCUl0263    MARYANNG                FOUY                     THOMAS P fOlfY JR
PflZ£R2.£Xa.oD264    THOMASP                 FOUYJR                   MARY AHN GUERIN FOl.EY
PFIZERHXCl.00265     MARV AHNE               GUERIN                   JOHN P GUERIHIDECEASlD)
Pf1Z£R2.£XCl.00266   THOM.ASP                FOUYJR
PflZ£RHXCl00267      JOHNl                   BOYD
Pf1Z£R2.£XCl00268    COREYC                  PALM
PFIZER2.£XCl00269    CHAlllESC               WOllASTOH
PflZ£R2.£XCl00270    NORMAJ                  NARAMORE
PflZ£R2.£XCl.00271   CHAlllESC               WOl.lASTON
PFIZ£R2.£XCl00272    B                       HORTON                   JHOllTON
PFIZER2.£XCl00273    JOHN                    PETERSSON
PFIZ£R2.£XCl00274    HANS ERIK               IAGERSTROM
PFIZER2.£XCl00275    HAHCYl                  KRAUSE                   KRAUSE LIVING TRUST
PFIZER2·EXCl00276    ARNE                    WIKMAH
PFIZ£R2.£XCl.00277   FllAHCES                HAOl.EY
PFIZ£RHXQ.oo278      ELIZABETH               COGAN
PFIZ£R2.£XCl00279    THOMAS                  DOHNEllY
PFIZ£R2.£XCl00280    lENA                    LARSSON
PFIZ£RHXCl002S1      STEFAN                  HEMMIHGSON
PFIZ£R2.£XCl.00282   OIAHEF                  ROOCWEll
PFIZ£R2.£XQ.oo28J    ANNAM                   MOM8ACH
PFIZ£R2-EXCl00284    STEPHANIE NATAUA        ICYNYK
PFIZER2-EXCl002a5    DElVINlt                KNIGHT JR                AMYE WlllCOX
PFIZ£R2-EXCl0028'    BERHICf J               SNYDER
PflZ£R2-EXCl00217    DElVINR                 KNIGHT JR                AMYEWIUCOX
PflZ£RHXa.oD211      DIANE FLORENCE          ROOCWEll TTEE            RONALD JAMES ROCltWEll JR
PFIZ£R2.£XQ.oo219    KENNETH It              JANSON
Pf1Z£R2.£XQ.oo290    RICHARD BARRY           OIARD                    TONI CHARD
Pf1Z£R2.£XQ.oo291    CHRISTINE               FORSYTH
PFIZ£R2.£XQ.oo292    YIN WAH EMMA            LAU
PFIZ£RZ.£XQ.oo29'    ROHR TS                 MORRISON
PFIZ£R2·EXCl00294    FllAHONE                NOFTlE
PFIZ£R2.£XCloo295    llOWARDE                SIMAHEK
PflZ£R2.£XCl00296    MARCUS£                 NORTH                    JOANNE R NORTH
PFIZ£R2.£XQ.oo297    Al.BERT                 WHITE                    JOYCE WHITE
PFIZERHXCl00298      IARAINEA                CAU.AHAN
PFIZERHxa.ooz99      MLYNL                   BERGEN
Pf1Z£R2.£XQ.oo300    ICATHl.EENA             GISlER                   BARBARA M GISI.ER
PFIZ£R2.£XQ.oo301    llOWIDP                              DEClASEDI   CAROl A MAUNOWSltl EXECUTRIX
PFIZERHXQ.oo302      PETRO                   VARGAS                   ATTN JUAN lUNA/lAWGISTIC
PFIZERZ.£XCl00303    llHDA                   FllAHOSCO CUST           MICHAEi. THOMAS FllAHOSCO
PFIZER2·EXCl00304    JAYR                    OWEN
PFIZER2.£XQ.oo305    DOROTHY                 NOWACK
PFIZERHXCl00306      STEN                    Hll.SSON
PFIZER2.£XQ.oo307    JUDITHA                 BARRITT                  JOHN J BARRETI
PFIZ£RZ.£XQ.oo308    RICHAROJ                KRENTZ
PFIZERZ.£XQ.oo309    RAYMOND                 ZIELKE
PFIZER2.£XQ.oo310    UNDAKOY                 SPRING
PFIZERZ-EXCl.00311   FllANCISJ               BUSCH
PFIZERZ.£XQ.oo312    LARS                    ORNING
PFIZER2-EXQ.oo313    BARBARAU                CHARLTON
Pf1Z£R2.£XQ.oo314    SH£11AA                 ICASHll                  MASAHARU KASHI
PFIZER2·EXQ.oo315    lYNNS                   PETERSON
PflZER2-EXCl00316    CHRISTINf M             MICELI
PFIZER2-EXCL00317    El.AINf                 TAPP                     ASP! RE LIMITED
PFIZER2.£XQ.oo311    SANDRA                  POUMER
Pf1ZER2.£XCl.00319   MINGTE                  UPPER
PFIZER2.£XCl00320    AMIRA                   RATMOllE
PFIZER2.£XCl00321    DAVIDA                  COHDIRSTON
PFIZ£R2.£XCl00322    BRAOl.EY                BATLA
PFIZER2.£XQ00323     JOHAN                   BENGTSSON
PFIZER2.£XCl00324    EUS                     OlSSON
PFIZER2.£XCl00325    lARSOlOF                KARlSSON
PFIZER2.£XQ.oo326    lEIF                    LUNDGREN
PFIZER2.£XCl00327    SHIRLEY R               8Ull
PFIZER2-EXCl.00321   DANO                    CAINJR TR
PFIZER2.£XQ.oo329    MARGARET                CARROll
PflZER2.£XCl00330    STAFFAU                 NORSTEDT
PFIZER2.£XCl00331    RITA                    DOHNEllY
PFIZER2.£XCl.00332                           CHICKASAW FOUNDAOON
PFIZER2-EXCl00333    STENINGE                UNOIERG
PFIZER2.£XQ.oo334    JERllYHN                GRAHAM
PFIZER2-EXCl00335    I.Elf                   PERSSON
PFIZER2-EXCl00336    ESTATE OF MARY AOlWDE   JAMES                    MARGAR£T JAMES AOMIN & PER REP
Pf1ZER2.£XQ.oo337    BMRLYJ                  BREWSTER
PFIZER2.£XQ.oo331    GERAlDH                 GETCHEll TTEEIDECUSEDI   JOAN H GETCHEll TRUSTEE
PFIZ£RZ.£XCUlOU9     GERUHDE                 PAPPAS
PFIZERZ.£XCl00341    CATRINLIND              EBERT
PFIZERHXCl.00342     WED                     AKHTAR
PFIZER2.£XQ.oo343    CARLE                   BARRYIDEClASEDI          N ELAINE BARRY
PflZER2.£XCl00344    DAVIDP                  KAIN                     WENDY C KAIN
PFIZER2-EXCLOOJ45    RUTH          PATZIG
PFIUR2-£XCL00346    TIMOTHYM       MAGUIR(
PFIZER2·lXCL00347   8ARRYR         COWEll
PFIZER2.£XCL00348   GIWIAME        8lARO OEC£ASEO
PFIZER2-lXCL80001   KENNETH        KEfNUMIOECEASEOI             ELlANEITA KEENUM TRUSTEE
PFIZER2.£XCL80002   EllANEITA      KEENUM TllUSTEE              BYPASS TR/KEENUM FAMll YLIV TR
PFIZER2-EXCL80003   PEGGY          NlfSCHIAG
PFIZER2-EXCUIOOIM   JOELLEN        SELF
PFIZER2-EXCL80005   STEWARTG       PAUL50N
PFIZER2-EXCL80006   ULLA           LUNOQUISTER                  TIOAHOLM SPARllANIC
PFIZER2-EXCL80007   JOANNE         WANDERER
PFIZER2-EXCL80008   STEWARTG       PAUL50N
PFIZER2·lXCl80009   JUDITH         SIDOROWICZ
PFIZER2-EXCL80010   BARBARA        LARIA
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PFIZERZ-EXCLIOOlS   NANCY LOUISE   ST GERMAIN TR                NANCY LOUISE ST GERMAIN TTH
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